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                   Exhibit 4




                   Exhibit 4
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Xenotransplantation 2014: 21: 588–593                                                                                                              © 2014 John Wiley & Sons A/S
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                                                                                                                                                    XENOTRANSPLANTATION

              1st International Conference on Clinical Islet Xenotransplantation Osaka, Japan,
                                        November 9, 2013 Abstracts

                                                                                              are transplanted, there remain problems with lack of nutrients reaching the
1. Clinical Study                                                                             islets and with rejection. There are also differences in glucose metabolism

Lessons from Clinical Islet                                                                   between pigs and NHPs that may affect the outcome.
                                                                                              Although considerable progress is being made, several questions continue to be

Xenotransplantation in NZ                                                                     asked, and some remain to be resolved:

                                                                                                  1.   What is the optimal site of transplantation?
                                                                                                  2.   Are neonatal or fetal islets preferred over adult islets?
1                                                                                                 3.   Are islets from genetically-engineered pigs essential? In particular, will
The evolution of successful islet xenotransplantation at Living Cell                                   islets from pigs with deletion of both galactose and N-glycolylneuraminic
Technologies and Diatranz Otsuka Ltd                                                                   acid be necessary before a successful clinical trial can be undertaken?
Robert Elliott, on behalf of the teams at LCT and DOL                                             4.   What is the optimum immunosuppressive regimen?
Living Cell Technologies, Inc., Auckland, New Zealand                                             5.   Are studies in the NHP model essential before a clinical trial can be
                                                                                                       undertaken? In particular, when encapsulated islets are to be transplanted
In NZ in 1988 a 2 year old with Type 1 diabetes presented in hospital. His                             without the need for exogenous immunosuppressive therapy, are trials in
father asked if there was anything offered for treatment apart from daily blood                        NHPs necessary?
tests and insulin injections. Early attempts at allotransplantation at that time                  6.   Is it essential for the group planning the clinical trial to have experience of
had little or no success, and this was not available then or now. Xenotrans-                           (i) pig islet isolation and/or (ii) management of immunosuppressed human
plantation of encapsulated porcine islets as being reported by Sun et al in Tor-                       islet allograft recipients?
onto looked attractive. The child’s father offered ﬁnances to start research in                   7.   Will it be necessary to house pigs under ideal isolation conditions or will
this direction and Diatranz was born; sufﬁcient success in diabetic NOD mice                           it be sufﬁcient to demonstrate that the islet ‘product’ that is to be trans-
using a microencapsulation technology devised by Calaﬁore et al provided                               planted is sterile?
incentive to expand activities. This culminated in two T1D patients receiving
such intraperitoneal treatment in 1996 using neonatal pig islets and an encap-                In answer to these questions, the optimal site for transplantation remains uncertain,
sulation technique devised by Soon Shiong. Both showed a small clinical and                   but most attention is being directed to the portal vein as this is the current approach
biochemical response. One of these continued to show evidence of survival of                  for clinical islet allotransplantation. Neonatal pig islets might have some advanta-
the transplanted cells for over a decade.                                                     ges over adult islets, and islets from genetically-engineered pigs certainly have
Further development was halted by the potential threat posed by the discovery of              advantages over those from wild-type pigs. There is not yet an agreed optimal
human cell infectivity of pig endogenous retrovirus. The serendipitous discovery              immunosuppressive regimen, but those based on T cell depletion and costimula-
of a herd of pigs isolated from the rest of the world for nearly 200 years on a sub           tion blockade have shown considerable promise.
Antarctic island that were free of any detectable porcine viruses and with no                 It is recommended that no clinical trial should be undertaken without some evi-
detectable expression of DNA PERV provirus, allowed regulatory authorities in                 dence in an animal model that there is the potential of beneﬁt to the patient. How-
NZ after international and national public consultation to eventually approve a               ever, studies in NHPs, although valuable, may not be essential if the clinical trial
clinical safety trial in humans after relevant preclinical studies. Neonatal islets           will involve encapsulated islets and the recipient will not receive exogenous
from these pigs were encapsulated in alginate/polyornithine and injected into the             immunosuppressive therapy, thus reducing the risks of the trial.
peritoneal cavity in escalating doses. The patients selected had all developed una-           It is likely that national regulatory authorities will require the islet-source pigs to
ware hypoglycemia.                                                                            be housed under isolation conditions, and that groups initiating clinical trials have
At smaller rather than larger doses, unaware hypoglycemia abated. Over 70 trans-              experience in pig islet isolation and, when ‘free’ islets are to be transplanted, in the
plants have now been carried out with no evidence of zoonosis. Some dose related              management of immunosuppressed patients undergoing organ or, preferably, islet
transient inﬂammatory side effects were noted after transplantation.                          allotransplantation.
Improvements in islet isolation technology and encapsulation are expected to pro-
vide even better results in the future. Islet xenotransplantation carried out in this
way is safe and has already provided a treatment at least as good as the best non-
transplant alternatives.                                                                      Preclinical Animal Model
                                                                                              2-2
                                                                                              Lessons from islet transplant studies in non-human primates
2. Preclinical Studies in                                                                     Melanie Lynn Graham
                                                                                              Pre-Clinical Research Center & Schulze Diabetes Institute, University of
Pig-to-non-human Primate Model                                                                Minnesota, Minneapolis, MN, USA

Preclinical Efﬁcacy                                                                           Pig islet cell transplantation to the diabetic macaque is a broadly accepted and use-
                                                                                              ful model to study safety and efﬁcacy of xenograft products and/or immune inter-
                                                                                              ventions in the process of preclinical development. Diabetes reversal and long-term
2-1                                                                                           graft survival > 180 days has been achieved by several independent groups, how-
Questions regarding preclinical efﬁcacy                                                       ever high inter-animal variability has been observed. Some common complications
David K. C. Cooper                                                                            have been reported in long-term survivors, especially absence of body weight
Thomas E. Starzl Transplantation Institute, University of Pittsburgh, Pittsburgh,             (BW) gain and even BW loss. Stress, toxicity, inﬂammation, malabsorption, and
PA, USA                                                                                       insufﬁcient insulin are factors that contribute to complications. The standard small
                                                                                              molecule immunosuppressants used in islet transplantation have a smaller efﬁ-
Several groups have reported pig islet (or embryonic pancreatic tissue) graft                 cacy-toxicity window in NHPs versus humans. Poor absorption of immunosup-
survival and function in nonhuman primates (NHPs) for periods of                              pression necessitates dose adjustments that result in chronic high gastrointestinal
> 6 months, and on occasions for > 1 year. However, when ‘free’                               exposure to achieve acceptable systemic exposure in NHPs. GI injury resulting
(unencapsulated) islets are transplanted into the portal vein, there is a                     from toxicity can provoke lipid wasting, malabsorption, and inﬂammation.
considerable early loss from the immediate blood-mediated inﬂammatory                         In most studies efﬁcacy has been associated with mild hyperglycemia in xenograft-
reaction (IBMIR), and rejection remains problematic. When encapsulated islets                 ed NHPs, which is attributed in part to metabolic differences between species.




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Fasting glucose levels are lower in NHPs than in pigs or man, while C-peptide lev-             islets often occurs during puriﬁcation, wherein acinar-embedding and cell frag-
els are higher and the insulin secretory capacity of porcine islets in vitro is simi-          mentation can severely reduce yield. Efforts to improve post-puriﬁcation recovery,
larly much lower than in man or monkeys. Likewise, energy metabolism as                        in addition to the signiﬁcant strides we have already made, will continue to
determined by caloric requirement is substantially higher in macaques than in                  improve the feasibility of an adequate porcine donor pool as islet xenotransplanta-
humans or pigs. The pig-to-NHP model is much more stringent with regard to the                 tion for clinical diabetic therapy draws closer to reality.
amount and quality of porcine islets required than the pig-to- human setting, and
effective dose will likely require adaptation.
Together, the effect on glycemic control and nutritional status in immunosup-
pressed macaques appears disproportionate to humans and may negatively bias                    Neonatal Pig
safety data. Protein loss and hypoalbuminemia is strongly associated with poor
clinical outcomes and consequently may increase infection/viral reactivation rates
in preclinical studies.                                                                        3-2
NHPs are particularly stress sensitive and management of nonhuman primates in                  Isolating and preparing neonatal porcine islet grafts for clinical
chronic survival studies is complicated, in particular under conditions of metabolic           transplantation
perturbations and chronic immunosuppression. We use reﬁnement to reduce stress                 Gregory Korbutt
and enhance animal well-being, which reduces model-related confounding and                     Alberta Diabetes Institute, University of Alberta, Edmonton, AB, Canada
improved interpretation when evaluating long-term survival studies.
The pig-to-nonhuman primate model of life-supporting islet transplantation shows               Patients with brittle type 1 diabetes can now be protected from severe hypogly-
limitations that are not apparent in short-term survival studies, but become mani-             cemia and improved glycemic stability following islet transplantation. However,
fest later after transplantation. These factors should be considered in the design             widespread application of this treatment will necessitate the need to develop an
and interpretation of pivotal preclinical studies in preparation for the phase transi-         alternative to human donor islets. Studies have reported successful transplanta-
tion to clinical trials.                                                                       tion of porcine islets from fetal, neonatal, and adult porcine pancreases. In
                                                                                               addition to studies in rodents, fetal porcine islets have been isolated from pigs
                                                                                               of gestational age 60–69 days have been transplanted into patients with type 1
                                                                                               diabetes, whereas neonatal and adult porcine islets have been implanted into
3. Source Pigs, Islet                                                                          diabetic non-human primates. Therefore, xenotransplantation of porcine islets
                                                                                               isolated from either fetal, neonatal, or adult animals have many strengths and
Manufacturing and Releasing                                                                    are becoming closer to clinical application. This presentation will provide infor-
                                                                                               mation on the technical aspects of isolating and preparing neonatal porcine islet
Testing                                                                                        grafts for clinical transplantation. Porcine islet product release criteria will also
                                                                                               be presented that will be helpful in establishing the safety (endotoxin, sterility),
Mature Pig                                                                                     identity/purity (cell composition), quantity (islet equivalents, cell number),
                                                                                               vitality (membrane intactness), and potency (insulin secretory capacity) of
                                                                                               biological porcine islet cell products.
3-1
Methods to maximize porcine islet yield
A. N. Balamurugan, Bernhard Hering
Schulze Diabetes Institute, Department of Surgery, University of Minnesota,                    4. Overcoming Immunological
Minneapolis, MN, USA
                                                                                               Hurdles by Immune Isolation
Porcine islets are a potential source of cellular therapeutics for the treatment of
type 1 diabetes. Porcine islet isolation, however, has proven surprisingly difﬁcult            Microencapsulation
due to the fragile nature of the islets themselves and wide yield variability depend-
ing on procedural technique and donor characteristics. The adult porcine pancreas
is 2–3 times larger than a human pancreas but the available islet mass differs sig-            4-1
niﬁcantly by strain and age or even between individuals of the same litter. There-             Microencapsulation
fore, our center has prioritized the discovery of donor screening methods and                  Collin J. Weber
isolation techniques that ensure the greatest yield for the smallest investment. To            Elizabeth Brooke Gottlich Diabetes Research and Islet Transplant Laboratory,
facilitate appropriate donor selection, we have been investigating acute C-peptide             University of Emory, Atlanta, GA, USA
response to intravenous glucose and to arginine stimulation, a test previously sug-
gested to predict relative beta cell mass in human donors. In a very recent study,             The goals of our research are to develop safe and effective methods to promote
we also found that exposing weanling pigs to a high fat diet, enriched with soy-               the long-term functional survival of islet grafts in patients with Type 1 diabetes.
bean oil, boosted post-digestion islet mass. After a donor has been selected, the              We have focused our studies on donor islet immuno-isolation, using alginate mi-
organ procurement technique can signiﬁcantly improve porcine islet isolation out-              crocapsules. Although the concept is not new, the availability of highly puriﬁed
comes. While ﬂushing the entire pancreas is not feasible for large animals in a                reagents and recently improved protocols for microcapsule generation have
non-surgical environment, we have proven success by combining a selective arte-                yielded promising results in both small animal models and in non-human primates.
rial ﬂush with ongoing surface cooling and ductal injection of cold preservation               We have found that microencapsulation protects most murine islet allografts for
solution to remove blood content and reduce warm ischemic damage. We have                      > 1 year, without the need of host immunosuppression. This suggests that pre-
proposed and implemented a dithizone (DTZ) scoring method in which a small tis-                venting cell contact between host immune cells and donor islets is sufﬁcient to pre-
sue biopsy can be stained and rapidly assessed for islet quantity. We have corre-              vent allo-islet destruction. Similar results were found with encapsulated NOD
lated higher DTZ scores to greater islet isolation yields in multiple subsequent               islets in diabetic NOD recipients. Thus, encapsulation inhibits auto-immune dam-
investigations. In addition to fast organ pre-screening, we have used tissue biopsy            age to donor islets as well. We have extensive experience with a variety of encap-
samples for more detailed immunohistochemical insulin staining to quantify func-               sulated xeno-islets (porcine, rabbit, tilapia, non-human primate, human, rodent)
tional islet density. This islet area fraction (IAF) scoring revealed that pancreata           transplanted in diabetic NOD and NOD Scid recipients. The biologic function of
from young and adult porcine donors contain exocrine and endocrine tissue in a                 these encapsulated xeno-islets is remarkably normal in vivo. However, immuno-
similar proportion to humans. Our ﬁndings suggest that it is possible to achieve a             isolation alone is not sufﬁcient to prevent the rejection of xeno-islets in our micro-
high porcine islet yield if optimal isolation methods can be identiﬁed and standard-           capsules. If recipients are treated with selective immuno-modulatory agents such
ized. Digestion conditions, in particular, have been understudied. Since the non-              as co-stimulatory blockade, most encapsulated porcine xeno-islet grafts function
availability of Liberase-PI, a variety of alternative collagenases and neutral prote-          for > 1 year in NODs. Thus, immuno-suppression and donor islet immuno-isola-
ases have become available. We have used collagen degradation assays and HPLC                  tion are synergistic in prolong the functional survival of islet xenografts in NODs.
analysis to differentiate active ingredients in these compounds but while we con-              We have begun to test these concepts in diabetic non-human primates, and we
tinue to experiment with various enzyme combinations, an optimal blend to maxi-                have obtained only 1–2 months of partial graft function to date. Host immune cel-
mize porcine islet isolation yield has been determined. Finally, the greatest loss of          lular and cytokine responses have been limited, and our current microcapsules pre-




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vent the entry of IgG. Thus, other mechanisms is donor islet injury must be
involved; and these are the studies we are about to commence.                                Encapsulation for Clinical
                                                                                             Application
Monolayer Encapsulation
                                                                                             4-3
                                                                                             Alginate PLO encapsulation for clinical application
4-2                                                                                          Shinichi Matsumoto
Islet Xenotransplantation: are we ready for clinical islet xenotransplantation?              Otsuka Pharmaceutical Factory, Inc., Naruto, Japan
Use of a subcutaneous monolayer cellular device containing pig islets to treat
diabetic primates without Immunosuppression.                                                 Xenotransplantation with porcine islets is a promising approach to overcome the
Pierre Gianello                                                                              shortage of human donors (1). Phase 1/2a xenotransplantation study of encapsu-
Universite Catholique de Louvain, Brussels, Belgium                                         lated neonatal porcine islets using alginate PLO capsules under the current New
                                                                                             Zealand framework of regulations was conducted with promising results (2). In
Although allogeneic islet transplantation can successfully cure type 1 diabetes, it          this study, we have optimized islet isolation and encapsulation processes for
has limited applicability: organs are in short supply; several human pancreas                improving clinical outcomes.
donors are often needed to treat one diabetic recipient; and immunosuppressive               Materials and Methods: Porcine pancreata were harvested from neonatal pig-
regimens, which are associated with side effects, are required to prolong survival           lets. We optimized islet isolation method and capsulation method (optimized cap-
of the islet graft. An alternative source of insulin-producing cells would therefore         sule) and compared with the current capsule (current capsule).
be of major interest. Pigs represent a possible source of alternative beta cells.            To assess in vitro function, static glucose stimulation tests were conducted with
Grafting of pig islets may appear difﬁcult because of the immunologic species bar-           low glucose (L1: 50 mg/dL) followed by high glucose (H: 375 mg/dL) and low
rier, but pig islets have been shown to function in primates for at least 6 months           glucose again (L2: 50 mg/dL). Stimulation indices H/L1 and H/L2 were com-
with immunosuppression [1].                                                                  pared. To assess in vivo function, we transplanted marginal and sufﬁcient numbers
Therefore, a bioartiﬁcial pancreas, in which pig islets of Langerhans are encap-             of encapsulated neonatal porcine islets into abdominal cavity of streptozotocin
sulated within a semipermeable membrane, may be an alternative therapeutic                   induced diabetic B6 mice. For negative control we infused saline into diabetic
device for patients. It may constitute another safe and simple method of                     mice without islets. To ensure, the origin of insulin, we measured porcine C-pep-
transplanting islets without the need for immunosuppressive therapy. Since the               tide from the transplanted mice on day 32 post-transplant.
semipermeable membrane protects the islets from the host immune system, the                  Results: Stimulation indices (H/L1) were 1.0 with the current capsule and 2.8
islets are likely to survive and release insulin for a long period of time,                  with the optimized capsule. Stimulation indices (H/L2) were 7.2 with the current
thereby controlling glucose metabolism in the absence of immunosuppressive                   capsule and 48.4 with the optimized capsule.
medication.                                                                                  In vivo assay demonstrated that all three negative control mice died with high
Recent data using macroencapsulation of pig islets in primates seems encour-                 blood glucose on day 3, 3 and 15. When diabetic mice were transplanted with mar-
aging. In fact, a “monolayer” conﬁguration of macroencapsulated pig islets                   ginal number of islets, none of ﬁve mice reversed diabetes using the current cap-
(monolayer cellular device) implanted subcutaneously has been found to signif-               sules, but, two out of ﬁve mice could reverse diabetes using optimized capsules on
icantly improve diabetes control (glycated hemoglobin < 7%) in primates for                  day 3. When diabetic mice were transplanted with sufﬁcient number of islets, four
6 months without any immunosuppression [2]. In this encapsulation system,                    out of ﬁve mice reversed diabetes on day 3 but only two mice maintained normo-
islets were seeded as a monolayer on an acellular collagen matrix, enhancing                 glycemia at day 22 using the current capsules; however; three out of three mice
their interactions with a biologic membrane and increasing islet concentration               using the optimized capsules could reverse diabetes on day 3 and all mice main-
per unit surface area. In addition, diabetes was controlled for up to 1 year in              tained normoglycemia at day 22.
two diabetic primates after retransplantation with new monolayer cellular                    With marginal number of transplantation, porcine C-peptide level was below
devices. Interestingly, diabetic control was completely maintained for                       detection levels with the current capsules and 0.15 ng/mL with the optimized
> 32 weeks after the co-transplantation of adult pig islets and either bone mar-             capsules. With sufﬁcient number of transplantation, the porcine C-peptide was
row or adipose mesenchymal stem cells [3]. The co-transplantation of MSCs                    0.09 ng/mL with the current capsules and 0.35 ng/mL with the optimized
increased the vascularization of the monolayer device in terms of increase                   capsules.
number of vessels and production of VEGF. By using this subcutaneous                         Conclusion: Optimized islet isolation and capsulation with alginate PLO could
monolayer cellular device, a phase 1 clinical study is currently ongoing to                  reliably reverse diabetes in mice with positive porcine C-peptide. This improved
assess the safety of this device for allotransplantation of encapsulated islets              alginate PLO encapsulated neonatal islets might be able to improve clinical
into humans. Up to now, one patient received such a subcutaneous implant                     outcomes.
containing human isolated islets which was well tolerated during 1 year and                  References: (1) Matsumoto S. Islet cell transplantation for type 1 diabetes.
demonstrated a signiﬁcant decrease of exogenous insulin needs.                               J Diabetes 2010; 2: 16–22.
In the ﬁeld of micro/macroencapsulation, results now obtained without any immu-              (2) WHO. Second WHO global consultation on regulatory requirements for xeno-
nosuppression may allow progression to pilot clinical trials as long as DPF pigs             transplantation clinical trials, Geneva, Switzerland, 17–19 October 2011.
are used under GMP conditions.
References: [1] Dufrane D, Goebbels RM, Saliez A, Guiot Y, Gianello P. Six
month survival of microencapsulated pig islets and alginate biocompatibility in
primates: proof of concept. Transplantation 2006, 81: 1345–1353.                             5. Overcoming Immunological
[2] Dufrane D, Goebbels RM, Gianello P. Alginate macroencapsulation of pig
islets allows correction of streptozotocin-induced diabetes in primates up to                Hurdles
6 months Without Immunosuppression. Transplantation 2010, 90: 1054–1062.
[3] Veriter S, Gianello P, Igarashi Y, Beaurin G, Ghyselinck A, Aouassar N, Jor-            Clinically Applicable
dan B, Gallez B, Dufrane D: Improvement of subcutaneous bioartiﬁcial pancreas
vascularization and function by co-encapsulation of pig islets and mesenchymal               Immunosuppressants and Tolerance
stem cells in primates. Cell Transplant 2013, [Epub ahead of print].

                                                                                             5-1
                                                                                             Clinically applicable immunosuppression and immunological tolerance
                                                                                             Bernhard J. Hering
                                                                                             Schulze Diabetes Institute, Department of Surgery, University of Minnesota,
                                                                                             Minneapolis, MN, USA

                                                                                             Intraportal porcine islet xenotransplants have reversed diabetes for more than
                                                                                             6 months in nonhuman primates given anti-CD154 mAbs in combination with




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other immunosuppressants (University of Minnesota: anti-IL-2R                                   novel strategy for pig-to-human islet transplantation without side effects of sys-
Abs + FTY720 + mTOR inhibitor  leﬂunomide; Emory University/University                         temic immunosuppression (Klymiuk et al., Diabetes 2012; 61: 1527–1532).
of Alberta: anti-IL-2R Abs + belatacept + mTOR inhibitor; University of Pitts-                  To prevent apoptosis of beta-cells during isolation of Langerhans islets from the
burgh: anti-thymocyte globulin + mycophenolate mofetil; Seoul National Univer-                  donor pancreas, in vitro cultivation, and the hypoxic stress phase in the early post-
sity: cobra venom factor + anti-ICAM mAb MD-3 or antithymocyte globulin or                      transplantation period, we generated transgenic pigs expressing the X-linked inhib-
nTreg infusions + mTOR inhibitor). The thromboembolic risks associated with                     itor of apoptosis (XIAP) under the control of the porcine INS promoter. So far, 10
the administration of anti-CD154 mAbs preclude the clinical evaluation of these                 INS-XIAP transgenic founders have been produced by somatic cell nuclear trans-
protocols. Of the several alternative immunotherapeutics tested in recent years as              fer using pools of stable transfected donor cells.
substitutes for anti-CD154 mAbs, only three have met with limited success. A reg-               Engineered porcine islets which are less prone to undergo apoptosis as compared to
imen including belatacept used for maintenance in combination with a mTOR                       wild-type pig islets should be interesting for micro- or macroencapsulation strategies.
inhibitor and FTY720 prolonged islet xenograft survival for more than 6 months                  To establish a large animal model for testing such devices, we created the ﬁrst pig
in two of two monkeys given anti-thymocyte globulin, anti-IL2R mAb, and ritux-                  model for permanent neonatal diabetes (PNDM) by expression of C94Y mutant
imab for induction (Weizmann Institute). The anti-CD40 mAb Chi220 facilitated                   insulin in the beta-cells of transgenic pigs (Renner et al., Diabetes 2013; 62:
pig islet xenograft survival exceeding 6 months in one of six monkeys given in                  1505–1511). This model develops a stable diabetic phenotype without further
addition anti-IL2R mAb, belatacept, and mTOR inhibitor (Emory University/Uni-                   interventions such as streptozotocin treatment or pancreatectomy and should thus
versity of Alberta). Tacrolimus combined with anti-IL-2R mAb, abatacept, and                    be ideally suited for testing the functionality of islet transplantation therapies.
mTor inhibitor prevented pig islet xenograft rejection in 21 of 25 monkeys; how-                Grant support: Deutsche Forschungsgemeinschaft, Transregio-CRC 127.
ever increasing intestinal toxicity associated with this regimen in monkeys pre-
vented their long-term follow-up in most study animals (University of Minnesota).
More detailed immune mechanistic studies will be required to determine the pre-
cise immune recognition and effector pathways that were controlled by anti-                     Genetic Modiﬁcation of Source
CD154 immunotherapy in the above-referenced studies. Improved understanding
of the immunobiology of islet xenotransplantation in nonhuman primates will                     Pigs-2
facilitate the rational design of rejection prophylaxis protocols suitable for clinical
investigation of islet xenotransplantation.
Preclinical research in the pig-to-nonhuman primate model is now also underway                  5-3
to explore the translatability of immunotherapeutic strategies that induced toler-              Genetic modiﬁcation of source pigs
ance to pig islet grafts in immunocompetent rodents (e.g., immune-engineered pig                Peter J. Cowan1, Wayne J. Hawthorne2, Andrew M. Lew3, Philip J. O’Connell2,
islet grafts or peritransplant administration of donor antigen under the cover of               Mark B. Nottle4, Simon C. Robson5, Anthony J. F. d’Apice1
                                                                                                1
transient B cell depletion and mTOR inhibition). Successful translation of these                 Immunology Research Centre, St Vincent’s Hospital, Melbourne, VIC, Australia;
                                                                                                2
protocols and the induction of operational tolerance in the preclinical setting will             Westmead Millennium Institute for Medical Research, The University of Sydney,
likely require a multi-pronged approach that also includes genetic modiﬁcation of               Sydney, NSW, Australia; 3Walter and Eliza Hall Institute, Melbourne, VIC,
the graft and/or targets the microenviroment of the implantation site to mitigate               Australia; 4University of Adelaide, Adelaide, SA, Australia; 5Beth Israel
innate immune activation.                                                                       Deaconess Medical Centre, Boston, MA, USA

                                                                                                Intraportal pig islet xenografts face a range of immunological and process-related chal-
                                                                                                lenges, the most important of which are probably the instant blood-mediated inﬂam-
Genetic Modiﬁcation of Source                                                                   matory reaction (IBMIR) and T cell-mediated rejection (TCMR). Genetic
                                                                                                modiﬁcation of source pigs offers the opportunity to inhibit these destructive patholog-
Pigs-1                                                                                          ical mechanisms. Several approaches, including deletion of the xenoantigen alpha-Gal
                                                                                                and/or transgenic expression of human complement regulators, have been shown to be
                                                                                                protective in the pig to primate islet xenograft preclinical model. Transgenic secretion
5-2                                                                                             of the costimulation blockade molecule LEA29Y (belatacept) by donor islets has also
Genetically engineered pigs as donors of pancreatic islets and as large animal                  been validated in a pig to humanized mouse model. We are developing a complemen-
models for testing the functionality of transplanted islets                                     tary strategy in which transgenic islet xenografts will secrete a chimeric anti-CD2
Eckhard Wolf1,2, Annegret W€unsch2, Andrea B€ahr2, Barbara Keßler2, Simone                      monoclonal antibody, to locally deplete inﬁltrating T cells and to block the costimula-
Renner2, Lelia van B€urck-Wolf2,3, Jochen Seissler2,3, Nikolai Klymiuk2                         tion of those that escape depletion. The antibody is suitable for both preclinical and
1
 Gene Center, Ludwig Maximilians University, Munich, Germany; 2Institute of                     clinical use because it recognises baboon and human T cells; it is unlikely to cause
Molecular Animal Breeding and Biotechnology, Gene Center, LMU Munich,                           immunodeﬁciency in the transgenic pigs, which has been a problem for the pig
Germany; 3Diabetes Zentrum, Medizinische Klinik und Poliklinik IV – Campus                      CTLA4-Ig transgene, because it does not bind pig CD2.
Innenstadt, Klinikum der LMU M€unchen, Munich, Germany                                          One consideration when constructing islet-protective transgenes such as anti-CD2
                                                                                                is what promoter should be used to achieve optimal expression. Intuitively, islet-
The transplantation of Langerhans islets to diabetic recipients might provide a                 speciﬁc expression (e.g. using the insulin promoter) would seem to be the logical
long-lasting treatment for diabetes and has been implemented with considerable                  choice. However, as will be discussed, there are circumstances in which this may
success, but the shortage of human organ donors restricts its future application to a           not be the case.
very small proportion of potential recipients. For overcoming this limitation, the
usage of Langerhans islets from a different source such as the pig pancreas repre-
sents an attractive alternative. Transplantation of encapsulated porcine pancreatic
islets to type 1 diabetic patients with severe unaware hypoglycemia has already                 6. Clinical Trial Considerations
entered clinical studies. To overcome the rejection of pig islets by human T cells,
we generated transgenic pigs expressing the optimized CTLA-4Ig variant                          Patient Selection and Informed
LEA29Y in the pancreatic beta-cells. Neonatal islet cell clusters (ICCs) from IN-
SLEA29Y transgenic (LEA-tg) pigs and wild-type controls were transplanted into                  Consent
streptozotocin-induced hyperglycemic NOD-scid IL2R-gamma null mice. Cloned
LEA-tg pigs are healthy and exhibit a strong beta-cell speciﬁc transgene expres-                6-1
sion. LEA-tg ICCs displayed the same potential to normalize glucose homeostasis                 Patient selection and informed consent for islet xenotransplantation
as wild-type ICCs after transplantation. After adoptive transfer of human periph-               Philip O’Connell
eral blood mononuclear cells, transplanted LEA-tg ICCs were completely pro-                     Westmead Millennium Institute for Medical Research, The University of Sydney,
tected from rejection, whereas reoccurrence of hyperglycemia was observed in                    Sydney, NSW, Australia
80% of mice transplanted with wild-type ICCs. This study provided the ﬁrst
proof-of-principle report on transgenic pigs with beta-cell speciﬁc expression of               Several clinical scenarios would justify trials of islet xenotransplantation, includ-
LEA29Y and their successful application as donors in a xenotransplantation                      ing islet after kidney (IAK) transplantation and islet xenotransplantation for hypo-
model. This approach may represent a major step toward the development of a                     glycemia unawareness. In selecting a patient cohort, several factors unique to




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xenotransplant trials must be considered, including the potential for xenozoonotic
infective complications, the risks of immunosuppression and the requirement for                 Regulatory Framework
lifelong monitoring. These factors need to be balanced against the beneﬁts of
improved glycemic control and ability to deliver large numbers of high-quality
islets, something more difﬁcult to achieve in islet allotransplantation. The impor-             6-3
tance of these risks varies depending on the patient cohort selected and proposed               Regulatory framework for islet xenotransplantation in the USA, Europe and
therapy to be undertaken. In islet xenotransplantation for hypoglycemia unaware-                Germany
ness, immunosuppressive risks and problems with lifelong monitoring need spe-                   Ralf R. T€onjes
cial attention in trial design. Whereas in IAK xenotransplantation, consideration               Paul Ehrlich Institut, Langen, Germany
must be given to ensure that the procedure does not impact on renal allograft out-
comes and patient co-morbidity, which is already signiﬁcant in renal transplant                 In the Changsha Communique (2008), the World Health Organization (WHO) has
recipients. With regards to informed consent islet xenotransplant trials are not dif-           summarized the regulatory requirements for xenotransplantation clinical trials. As
ferent from other forms of clinical trials. Consent must be informed, voluntary and             stated in principle 4, clinical trials and procedures need to be effectively regulated
uncoerced. Depending on the trial, there may be potential risks to close contacts               because of the wider community risks of xenotransplantation. There should be no
and what information they should receive would depend on what is proposed and                   xenotransplantation in the absence of regulation by the government of the country.
the assessed risks. The major ethical issues relating to the consent process are the            Regulation should have a legal basis to ban unregulated procedures and enforce
protocols for withdrawal from the trial and the requirement for lifelong or at least            compliance with regulatory requirements.
prolonged monitoring for infective complications. At present, no clear consensus                In the European Union (EU), clinical trials using xenogeneic medicinal products
exists as to the most appropriate patient group for the ﬁrst trials of islet xenotrans-         are effectively regulated. The European Directive 2005/28/EC and in particular its
plantation. Rather, this will depend on the type of treatment being proposed, the               nationally transformed ordinances on the implementation of Good Clinical Prac-
potential infective risks and the overall burden of immunosuppression.                          tice in the conduct of clinical trials on medicinal products for use in humans (GCP
                                                                                                Ordinance) cover xenotransplantation. For the assessment by the ethics committee
                                                                                                (German GCP Ordinance, Section 8) and for authorisation by the Competent
                                                                                                Authority (CA; Section 9) it is declared that there shall be no time limit for assess-
Infectious Disease Prevention                                                                   ment and authorization, respectively, in the case of trials of xenogeneic cell thera-
                                                                                                peutics. The German Medicinal Products Act (AMG) has transformed this
                                                                                                deﬁnition for the procedures of the ethics committee and for authorisation by the
6-2                                                                                             national CA (Paul-Ehrlich-Institut) stating that no time limit with respect to the
Infectious disease prevention and a response plan
                                                                                                authorisation period shall apply in the testing of xenogeneic medicinal products
Joachim Denner
                                                                                                (Section 42).
Robert Koch Institute, Berlin, Germany
                                                                                                Both the GCP Ordinance and AMG regulate the need for submission of applica-
                                                                                                tions to the CA sending dossiers with documents concerning quality and manufac-
Transplantation of pig islet cells will almost certainly be the ﬁrst type of xenotrans-
                                                                                                ture, the pharmacological/toxicological tests, manufacturing permit, import permit,
plantation routinely performed in humans. Indeed, the ﬁrst clinical trials have
                                                                                                and documents concerning results of previous clinical trials and other clinical
already been carried out.
                                                                                                information which has come to light, as well as a summary of the risk/beneﬁt
As xenotransplantation using pig cells, tissues or organs may allow transmission
                                                                                                assessment. In addition, evidence of insurance cover is required in the event that a
of porcine microorganisms that are pathogenic for the recipient, donor pigs and
                                                                                                person is killed or a person’s body or health is injured during the course of the
transplant recipients should be carefully screened. Donor screening includes regu-
                                                                                                clinical trial. At least 500,000 € must be allocated for every case of death or per-
lar analysis of both the donor herd and the individual donor animal. Furthermore,
                                                                                                manent occupational disability of a person concerned by the clinical trial.
the transplant, in the case of islet transplantation the islet cell preparation, should
                                                                                                The European Medicines Agency (EMA) takes care of centralized regulatory pro-
be subjected to analysis. Whereas most porcine microorganisms may be eliminated
                                                                                                cedures for medicinal products. The EMA Guideline on xenogeneic cell-based
by qualiﬁed pathogen-free breeding, porcine endogenous retroviruses (PERVs)
                                                                                                medicinal products (EMEA/CHMP/CPWP/83508/2009) deals with main criteria
pose a special risk since they are part of the pig’s genome. PERVs are released by
                                                                                                such as quality, non-clinical, clinical, pharmacovigilance and risk management
normal pig cells and some can infect human cells. In particular, PERV-A and
                                                                                                plans, and particularly with requirements unique to xenogeneic speciﬁcities. The
PERV-B are integrated into the genome of all pigs and can infect human cells. In
                                                                                                scientiﬁc and technical issues identiﬁed concern the sourcing and testing of ani-
contrast, PERV-C is not ubiquitous and only infects pig cells. However, recombi-
                                                                                                mals, manufacture, quality control, as well as the non-clinical and clinical develop-
nant PERV-A/C viruses have been described that also infect human cells and that
                                                                                                ment of xenogeneic cell-based medicinal products. Relevant public health aspects
are characterized by very high-titer replication. To prevent recombinations, pigs
                                                                                                are discussed and measures to ensure a proper surveillance for infections, includ-
lacking PERV-C in their genome should be used for breeding multitransgenic
                                                                                                ing zoonoses are highlighted.
pigs. Although blood cells can be used for analysis of PERV expression, differ-
                                                                                                The Committee for Advanced Therapies (CAT) at the EMA is responsible for
ences in expression between organs have been described and should be taken into
                                                                                                assessing the quality, safety and efﬁcacy of Advanced Therapy Medicinal Products
account. Fortunately, islet cells show only a low expression of PERV compared to
                                                                                                (ATMPs) and following scientiﬁc developments in the ﬁeld. It is a multidisciplin-
other pig tissues.
                                                                                                ary committee which was established in accordance with regulation 1394/2007/EC
Xenotransplant recipients should be tested for porcine microorganisms using direct
                                                                                                on ATMPs. In May 2013, EMA has published its scientiﬁc recommendation on
and indirect methods. Direct methods include screening for the genetic information
                                                                                                classiﬁcation of alginate encapsulated porcine pancreatic islet cells as ATMPs in
of the microorganisms using PCR, real-time PCR and real-time RT-PCR. In all of
                                                                                                accordance with 1394/2007/EC Article 17. The product is intended to be used for
these, careful PCR contamination management is required to avoid false positive
                                                                                                treating Type I diabetes, and might be considered to be effective in modifying
results. Indirect methods measure the immune response to infection. For example,
                                                                                                abnormal glucose metabolism in Type I diabetics.
antibody responses are analyzed using ELISA, Western blot assays and other
                                                                                                In the EU, compassionate use of medicinal products is a treatment option that
related techniques. Indeed, such indirect methods are commonly used to detect
                                                                                                allows the use of an unauthorised medicinal product to facilitate the availability to
infection with retroviruses such as HIV and HTLV. To exclude false positive
                                                                                                patients of new treatment options under development. Compassionate use pro-
results due to cross-reacting antibodies, the response to different proteins of the
                                                                                                grammes are often governed by legislation in individual EU Member States. In
microorganisms should be analyzed. The recipients should also be screened for
                                                                                                Germany, compassionate use is regulated by the Arzneimittel-H€artefall-Verord-
microorganisms that could infect and harm the porcine transplant.
                                                                                                nung (AMHV). In general, evidence and justiﬁcation for a putatively safe and efﬁ-
In preparation for actual cases of transmission or infection of the transplant a
                                                                                                cacious medicinal product is given by conﬁrmatory (phase 3) clinical trials.
response plan should be developed to deal with each potential microorganism.
                                                                                                The German AMG has deﬁned xenogeneic medicinal products that are intended
                                                                                                for use in or on humans and which are or contain living animal tissues or cells
                                                                                                (AMG, Section 4 subsection 21). Marketing authorizations are granted by the
                                                                                                national CA, Paul-Ehrlich-Institut.
                                                                                                A manufacturing authorization is given by the local CA (AMG, Section 13) and if
                                                                                                required, an import authorization is granted by the local CA (AMG, Section 72).
                                                                                                Inspections of the corresponding manufacturing sites may be performed by the
                                                                                                local CA prior to granting the import authorization.




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In the USA, the Food and Drug Administration (FDA) has published consider-                 published guidance on the production, testing and evaluation of products intended
ations for allogeneic pancreatic islet cell products in September 2009. This guid-         for use in xenotransplantation (Guidance for Industry, Source Animal, Product,
ance provides recommendations to manufacturers, sponsors, and clinical                     Preclinical, and Clinical Issues Concerning the Use of Xenotransplantation Prod-
investigators involved in the clinical studies of allogeneic pancreatic islet cell         ucts in Humans). One product is licensed in the USA.
products for the treatment of Type 1 diabetes mellitus. In April 2003, FDA has




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                       Exhibit 5




                       Exhibit 5
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Publication Number   Title                                                       Application Number   Application/Filing Date   Priority Number(s)   Inventor                      Priority Date(s)               Publication Date
                                                                                                                                                     DESAI NEIL;
                                                                                                                                                     TAO CHUNLIN;
                                                                                                                                                     YANG ANDREW;
                     PROTEIN-STABILISIERTE PHARMAZEUTISCHE WIRKSTOFFE                                                                                LOUIE LESLIE;
AT427739T                                                                        AT94442997           1997-09-24                US08720756                                         1996-10-01                     2009-04-15
                     UND DEREN VERWENDUNG                                                                                                            ZHENG TIANLI;
                                                                                                                                                     YAO ZHIWEN;
                                                                                                                                                     SOON-SHIONG PATRICK;
                                                                                                                                                     MAGDASSI SHLOMO
                                                                                                                                                     Sahadevan, David C.;
                     Novel Formulations of Pharmacological Agents, Methods for                                                                       Magdassi, Shlomo;
AU2002300723B2                                                                 AU2002300723           2002-08-19                AU8266298                                          1998-06-26                     2005-01-20
                     the Preparation Thereof and Methods for the Use Thereof.                                                                        Soon-Shiong, Patrick;
                                                                                                                                                     Desai, Neil P.
                                                                                                                                                     Desai, Neil P.;
AU2002303626C1       Composition and methods for treatment of hyperplasia        AU2002303626         2002-05-02                US09847945                                         2001-05-02                     2009-06-11
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Ci, Sherry Xiaopei;
                                                                                                                                                     Desai, Neil P.;
                                                                                                                                US60526773;          De, Tapas;
                     Compositions and methods of delivery of pharmacological                                                    US60526544;          Soon-Shiong, Patrick;
AU2003299590B8                                                                   AU2003299590         2003-12-09                                                                   2003-12-04; 2003-12-03; 2003-12-05;
                                                                                                                                                                                                                  2010-04-08
                                                                                                                                                                                                                       2002-12-09
                     agents                                                                                                     US60527177;          Yang, Andrew;
                                                                                                                                US60432317           Trieu, Vuong;
                                                                                                                                                     Beals Grim, Bridget;
                                                                                                                                                     Yao, Qiang
                                                                                                                                                     Tao, Chunlin;
                                                                                                                                                     Yao, Zhiwen;
                                                                                                                                                     Magdassi, Shlomo;
                     Protein stabilized pharmacologically active agents, methods
AU2006202836B2                                                                   AU2006202836         2006-06-30                US09316642           Louie, Leslie;                1999-05-21                     2009-10-08
                     for the preparation thereof and methods for the use thereof
                                                                                                                                                     Desai, Neil P;
                                                                                                                                                     Soon-Shiong, Patrick;
                                                                                                                                                     Yang, Andrew
                     Combinations and modes of administration of therapeutic                                                                         Soon-Shiong, Patrick;
AU2006213999B2                                                                   AU2006213999         2006-02-21                US60654245                                         2005-02-18                     2012-04-05
                     agents and combination therapy                                                                                                  Desai, Neil P.
                                                                                                                                                     Soon-Shiong, Patrick;
                                                                                                                                                     Yu, Chengzhi;
                     Drugs with improved hydrophobicity for incorporation in
AU2006214100B2                                                                   AU2006214100         2006-02-21                US60654175           Wang, Qinwei;                 2005-02-18                     2012-05-31
                     medical devices
                                                                                                                                                     Tao, Chunlin;
                                                                                                                                                     Desai, Neil P.
                                                                                                                                                     Soon-Shiong, Patrick;
AU2006249235B2       Sparc and methods of use thereof                            AU2006249235         2006-12-04                US60788208           Trieu, Vuong;                 2006-03-31                     2010-11-11
                                                                                                                                                     Desai, Neil P
                                                                                                                                                     Desai, Neil P.;
                                                                                                                                                     Yim, Zachary;
                     Compositions and methods for preparation of poorly water
AU2006284657B2                                                                   AU2006284657         2006-08-30                WOUS06034103         De, Tapas;                    2006-08-30                     2012-07-19
                     soluble drugs with increased stability
                                                                                                                                                     Soon-Shiong, Patrick M. D.;
                                                                                                                                                     Yang, Andrew
                                                                                                                                                     Desai, Neil P.;
                                                                                                                                US60712865;
                     Compositions comprising poorly water soluble                                                                                    Yang, Andrew;
AU2006284808B2                                                                   AU2006284808         2006-08-30                US60736962;                                        2005-08-31; 2005-11-14; 2005-11-14
                                                                                                                                                                                                                  2012-08-16
                     pharmaceutical agents and antimicrobial agents                                                                                  Soon-Shiong, Patrick M.D.;
                                                                                                                                US60736931
                                                                                                                                                     Selvaraj, Raj
                     Nanoparticles of paclitaxel and albumin in combination with                                                                     Soon-Shiong, Patrick;
AU2007317859B2                                                                   AU2007317859         2007-11-06                US11594417                                         2006-11-06                     2013-07-25
                     bevacizumab against cancer                                                                                                      Desai, Neil P.
                                                                                                                                                     Soon-Shiong, Patrick;
AU2007319763B2       SPARC and methods of use thereof                            AU2007319763         2007-03-29                US60788208           Desai, Neil P.;               2006-03-31                     2011-11-24
                                                                                                                                                     Trieu, Vuong
                                                                                                                                                     Wang, Qinwei;
                                                                                                                                                     Desai, Neil P.;
AU2007333925B2       Triazine derivatives and their therapeutical applications   AU2007333925         2007-12-14                US60875057                                         2006-12-15                     2013-10-31
                                                                                                                                                     Soon-Shiong, Patrick;
                                                                                                                                                     Tao, Chunlin
                     Breast cancer therapy based on hormone receptor status                                                                          Desai, Neil P.;
AU2007334360B2                                                                   AU2007334360         2007-12-14                US60875004                                         2006-12-14                     2013-10-17
                     with nanoparticles comprising taxane                                                                                            Soon-Shiong, Patrick
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                                                                                                                              US60905662;
                                                                                                                              US60905663;
                                                                                                                              US60905734;
                                                                                                                              US60923456;
                                                                                                                              US60905669;          Desai, Neil P.;
                     Nanoparticle comprising rapamycin and albumin as
AU2008223334B2                                                                 AU2008223334         2008-03-07                US60905735;          Trieu, Vuong;               2007-03-07; 2007-03-07; 2007-03-07;
                                                                                                                                                                                                              2014-05-08
                                                                                                                                                                                                                   2007-04-13; 2007-03-07; 2007-03-07; 2007-03-07;
                     anticancer agent
                                                                                                                              US60905750;          Soon-Shiong, Patrick
                                                                                                                              US60923248;
                                                                                                                              US60905787;
                                                                                                                              US60905767;
                                                                                                                              US60905672
                                                                                                                                                   Desai, Neil P.;
AU2008260447B2       Methods and compositions for treating recurrent cancer    AU2008260447         2008-06-02                US60932750                                       2007-06-01                     2013-10-10
                                                                                                                                                   Soon-Shiong, Patrick
                                                                                                                                                   Desai, Neil P.;
                                                                                                                              US61169665;
AU2010236382B2       Prion-free nanoparticle compositions and methods          AU2010236382         2010-04-15                                     Peykov, Viktor;             2009-04-15; 2009-08-28         2016-01-14
                                                                                                                              US61238052
                                                                                                                                                   Soon-Shiong, Patrick
                                                                                                                                                   Tao, Chunlin;
                     Combination therapy with nanoparticle compositions of
AU2010286670B2                                                                 AU2010286670         2010-08-25                US61236813           Desai, Neil P.;             2009-08-25                     2016-04-21
                     taxane and hedgehog inhibitors
                                                                                                                                                   Soon-Shiong, Patrick
                     Methods of enhancing drug delivery and effectiveness of                                                                       Desai, Neil P.;
AU2011232862B2                                                                 AU2011232862         2011-03-28                US61318777                                       2010-03-29                     2016-03-03
                     therapeutic agents                                                                                                            Soon-Shiong, Patrick
                                                                                                                              US61396800;          Desai, Neil P.;
AU2011261684B2       Methods of treating bladder cancer                        AU2011261684         2011-05-20                                                                 2010-06-02; 2011-03-04         2016-09-15
                                                                                                                              US61449513           Soon-Shiong, Patrick
                                                                                                                              US61377035;
                                                                                                                                                   Desai, Neil P.;
AU2011261685B2       Methods of treatment of pancreatic cancer                 AU2011261685         2011-05-20                US61446932;                                      2010-08-25; 2011-02-25; 2010-06-04
                                                                                                                                                                                                              2016-02-11
                                                                                                                                                   Soon-Shiong, Patrick
                                                                                                                              US61351846
                     Combinations and modes of administration of therapeutic                                                                       Soon-Shiong, Patrick;
AU2012201568B2                                                                 AU2012201568         2012-03-16                AU2012201568                                     2012-03-16                     2014-07-31
                     agents and combination therapy                                                                                                Desai, Neil
                                                                                                                                                   Desai, Neil P.;
                                                                                                                                                   Soon-Shiong, Patrick;
                     Drugs with improved hydrophobicity for incorporation in
AU2012202903B2                                                                 AU2012202903         2012-05-17                AU2012202903         Tao, Chunlin;               2012-05-17                     2014-12-11
                     medical devices
                                                                                                                                                   Yu, ChengZhi;
                                                                                                                                                   Wang, Qinwei
                                                                                                                                                   Desai, Neil P.;
                     Compositions Comprising Poorly Water Soluble                                                                                  Selvaraj, Raj;
AU2012207030B2                                                                 AU2012207030         2012-07-26                AU2012207030                                     2012-07-26                     2014-12-18
                     Pharmaceutical Agents And Antimicrobial Agents                                                                                Yang, Andrew;
                                                                                                                                                   Soon-Shiong, Patrick M.D.
                                                                                                                                                   DESAI, Neil P.;
                     NANOPARTICLE COMPRISING RAPAMYCIN AND ALBUMIN AS
AU2013204187B2                                                        AU2013204187                  2013-04-12                AU2013204187         SOON-SHIONG, Patrick;       2013-04-12                     2015-10-01
                     ANTICANCER AGENT
                                                                                                                                                   TRIEU, Vuong
                     Combinations and modes of administration of therapeutic                                                                       DESAI, Neil P.;
AU2013204198B2                                                                 AU2013204198         2013-04-12                AU2013204198                                     2013-04-12                     2016-04-21
                     agents and combination therapy                                                                                                SOON-SHIONG, Patrick
                                                                                                                                                   Tao, Chunlin;
                     TRIAZINE DERIVATIVES AND THEIR THERAPEUTICAL                                                                                  Wang, Qinwei;
AU2014200528B2                                                                 AU2014200528         2014-01-30                AU2014200528                                     2014-01-30                     2016-05-12
                     APPLICATIONS                                                                                                                  Desai, Neil P.;
                                                                                                                                                   Soon-Shiong, Patrick
                                                                                                                                                   NEIL P DESAI;
                                                                                                                                                   CHUNLIN TAO;
                                                                                                                                                   ANDREW YANG;
                     Protein stabilized pharmacologically active agents, methods                                                                   LESLIE LOUIE;
AU718753B2                                                                       AU4592997          1997-09-24                US08720756                                       1996-10-01                     2000-04-20
                     for the preparation thereof and methods for the use thereof                                                                   TIANLI ZHENG;
                                                                                                                                                   ZHIWEN YAO;
                                                                                                                                                   PATRICK SOON-SHIONG;
                                                                                                                                                   SHLOMO MAGDASSI
                                                                                                                                                   NEIL P DESAI;
                                                                                                                                                   CHUNLIN TAO;
                                                                                                                                                   ANDREW YANG;
                     Protein stabilized pharmacologically active agents, methods
AU784416B2                                                                       AU5035900          2000-05-19                US09316642           LESLIE LOUIE;               1999-05-21                     2006-03-30
                     for the preparation thereof and methods for the use thereof
                                                                                                                                                   ZHIWEN YAO;
                                                                                                                                                   PATRICK SOON-SHIONG;
                                                                                                                                                   SHLOMO MAGDASSI
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                                                                                                                                                 YANG ANDREW;
                                                                                                                                                 TAO CHUNLIN;
                                                                                                                                                 LOUIE LESLIE;
                     métodos para preparação de um agente ativo,
                                                                                                                                                 DESAI NEIL P;
BRPI9711856B1        substancialmente insolúvel em água e composição para    BRPI9711856          1997-09-24                US08720756                                   1996-10-01                     2016-07-12
                                                                                                                                                 SOON-SHIONG PATRICK;
                     liberação in vivo de um agente ativo
                                                                                                                                                 MAGDASSI SHLOMO;
                                                                                                                                                 ZHENG TIANLI;
                                                                                                                                                 YAO ZHIWEN
                                                                                                                                                 YANG ANDREW;
                                                                                                                                                 TAO CHUNLIN;
                     composição compreendendo partículas de agente                                                                               LOUIE LESLIE;
                     farmacologicamente ativo, uso da mesma, cateter                                                        US08720756;          DESAI NEIL P;
BRPI9715297B1                                                                BRPI9715297          1997-09-24                                                             1996-10-01; 1997-09-24         2016-07-12
                     intravenoso, frasco selado e emulsão compreendendo um                                                  BRPI9711856          SOON-SHIONG PATRICK;
                     agente farmacologicamente ativo                                                                                             MAGDASSI SHLOMO;
                                                                                                                                                 ZHENG TIANLI;
                                                                                                                                                 YAO ZHIWEN
                                                                                                                                                 MAGDASSI, SHLOMO;
                     METHODS FOR THE PRODUCTION OF PROTEIN PARTICLES                                                                             DESAI, NEIL;
CA2263765C                                                                   CA2263765            1997-08-19                US60023968                                   1996-08-19                     2010-03-30
                     USEFUL FOR DELIVERY OF PHARMACOLOGICAL AGENTS                                                                               FERRERI, KEVIN;
                                                                                                                                                 SOON-SHIONG, PATRICK
                                                                                                                                                 DESAI, NEIL P.;
                                                                                                                                                 TAO, CHUNLIN;
                                                                                                                                                 YANG, ANDREW;
                     PROTEIN STABILIZED PHARMACOLOGICALLY ACTIVE AGENTS,
                                                                                                                                                 LOUIE, LESLIE;
CA2267498C           METHODS FOR THE PREPARATION THEREOF AND METHODS CA2267498                    1997-09-24                US08720756                                   1996-10-01                     2007-05-08
                                                                                                                                                 ZHENG, TIANLI;
                     FOR THE USE THEREOF
                                                                                                                                                 YAO, ZHIWEN;
                                                                                                                                                 SOON-SHIONG, PATRICK;
                                                                                                                                                 MAGDASSI, SHLOMO
                                                                                                                                                 DESAI, NEIL P.;
                     NOVEL FORMULATIONS OF PHARMACOLOGICAL AGENTS,
                                                                                                                            US60051021;          SOON-SHIONG, PATRICK;
CA2294981C           METHODS FOR THE PREPARATION THEREOF AND METHODS CA2294981                    1998-06-26                                                             1997-06-27; 1997-09-09         2012-04-03
                                                                                                                            US08926155           MAGDASSI, SHLOMO;
                     FOR THE USE THEREOF
                                                                                                                                                 SAHADEVAN, DAVID C.
                                                                                                                                                 DESAI, NEIL P.;
                                                                                                                                                 TAO, CHUNLIN;
                     PROTEIN STABILIZED PHARMACOLOGICALLY ACTIVE AGENTS,                                                                         YANG, ANDREW;
CA2371912C           METHODS FOR THE PREPARATION THEREOF AND METHODS CA2371912                    2000-05-19                US09316642           LOUIE, LESLIE;          1999-05-21                     2010-02-16
                     FOR THE USE THEREOF                                                                                                         YAO, ZHIWEN;
                                                                                                                                                 SOON-SHIONG, PATRICK;
                                                                                                                                                 MAGDASSI, SHLOMO
                     COMPOSITION AND METHODS FOR TREATMENT OF                                                                                    DESAI, NEIL P.;
CA2446083C                                                                   CA2446083            2002-05-02                US09847945                                   2001-05-02                     2015-01-06
                     HYPERPLASIA                                                                                                                 SOON-SHIONG, PATRICK
                                                                                                                                                 DESAI, NEIL P.;
                                                                                                                                                 YANG, ANDREW;
                                                                                                                            US60432317;          CI, SHERRY XIAOPEI;
                     COMPOSITIONS AND METHODS OF DELIVERY OF                                                                US60526544;          DE, TAPAS;
CA2509365C                                                                   CA2509365            2003-12-09                                                             2002-12-09; 2003-12-03; 2003-12-04;
                                                                                                                                                                                                        2012-08-07
                                                                                                                                                                                                             2003-12-05
                     PHARMACOLOGICAL AGENTS                                                                                 US60526773;          TRIEU, VUONG;
                                                                                                                            US60527177           SOON-SHIONG, PATRICK;
                                                                                                                                                 BEALS GRIM, BRIDGET;
                                                                                                                                                 YAO, QIANG
                                                                                                                                                 DESAI, NEIL P.;
                                                                                                                                                 TAO, CHUNLIN;
                                                                                                                                                 YANG, ANDREW;
                     PROTEIN STABILIZED PHARMACOLOGICALLY ACTIVE AGENTS,
                                                                                                                                                 LOUIE, LESLIE;
CA2512487C           METHODS FOR THE PREPARATION THEREOF AND METHODS CA2512487                    1997-09-24                US08720756                                   1996-10-01                     2012-05-29
                                                                                                                                                 ZHENG, TIANLI;
                     FOR THE USE THEREOF
                                                                                                                                                 YAO, ZHIWEN;
                                                                                                                                                 SOON-SHIONG, PATRICK;
                                                                                                                                                 MAGDASSI, SHLOMO
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                                                                                                                                            DESAI, NEIL P.;
                                                                                                                                            TAO, CHUNLIN;
                     DRUGS WITH IMPROVED HYDROPHOBICITY FOR
CA2598213C                                                              CA2598213            2006-02-21                US60654175           YU, CHENGZHI;             2005-02-18                    2011-04-19
                     INCORPORATION IN MEDICAL DEVICES
                                                                                                                                            WANG, QINWEI;
                                                                                                                                            SOON-SHIONG, PATRICK
                                                                                                                                            TRIEU, VUONG;
CA2598510C           Q3 SPARC DELETION MUTANT AND USES THEREOF          CA2598510            2006-02-17                US60654261           DESAI, NEIL P.;           2005-02-18                    2011-12-20
                                                                                                                                            SOON-SHIONG, PATRICK
                                                                                                                                            DE, TAPAS;
                                                                                                                                            DESAI, NEIL P.;
                     COMPOSITIONS AND METHODS FOR PREPARATION OF                                                                            YANG, ANDREW;
CA2620389C                                                               CA2620389           2006-08-30                WOUS06034103                                   2006-08-30                    2014-06-17
                     POORLY WATER SOLUBLE DRUGS WITH INCREASED STABILITY                                                                    YIM, ZACHARY;
                                                                                                                                            SOON-SHIONG, PATRICK M.
                                                                                                                                            D.
                                                                                                                                            DESAI, NEIL P.;
                                                                                                                       US60712865;          SELVARAJ, RAJ;
                     COMPOSITIONS COMPRISING POORLY WATER SOLUBLE
CA2620585C                                                              CA2620585            2006-08-30                US60736962;          YANG, ANDREW;             2005-08-31; 2005-11-14; 2005-11-14
                                                                                                                                                                                                     2015-04-28
                     PHARMACEUTICAL AGENTS AND ANTIMICROBIAL AGENTS
                                                                                                                       US60736931           SOON-SHIONG, PATRICK
                                                                                                                                            M.D.
                                                                                                                                            TRIEU, VUONG;
                     METHODS USING SPARC FOR PREDICTING THE RESPONSE OF
CA2648118C                                                              CA2648118            2007-03-29                US60788208           DESAI, NEIL P.;           2006-03-31                    2013-01-08
                     A TUMOUR TO CHEMOTHERAPY AGENTS
                                                                                                                                            SOON-SHIONG, PATRICK
                                                                                                                                            DESAI, NEIL P.;
                     TRIAZINE DERIVATIVES AND THEIR THERAPEUTICAL                                                                           SOON-SHIONG, PATRICK;
CA2672893C                                                              CA2672893            2007-12-14                US60875057                                     2006-12-15                    2016-02-23
                     APPLICATIONS                                                                                                           TAO, CHUNLIN;
                                                                                                                                            WANG, QINWEI
                     USE OF PROTEIN-BOUND TAXANE NANOPARTICLES IN THE                                                                       DESAI, NEIL P.;
CA2689914C                                                              CA2689914            2008-06-02                US60932750                                     2007-06-01                    2016-08-16
                     TREATMENT OF RECURRENT GYNECOLOGICAL CANCERS                                                                           SOON-SHIONG, PATRICK
                                                                                                                                            内尔·P·代塞;
                                                                                                                                            内尔
                                                                                                                                            帕奇克·苏－雄;
                                                                                                                                            帕奇克
                                                                                                                                            什落莫·马格达西;
                                                                                                                                            什落莫
                                                                                                                       US08926155;          大卫·C·沙哈地万;
                                                                                                                                            大卫
CN100525748C         药剂的新制剂及其制备和应用方法                                    CN200310121217       1998-06-26                                                               1997-09-09; 1997-06-27        2009-08-12
                                                                                                                       US60051021           内尔·P·代塞;
                                                                                                                                            内尔
                                                                                                                                            帕奇克·苏－雄;
                                                                                                                                            帕奇克
                                                                                                                                            什落莫·马格达西;
                                                                                                                                            什落莫
                                                                                                                                            大卫·C·沙哈地万
                                                                                                                                            大卫
                                                                                                                                            N·P·德赛;
CN100588396C         治疗增生的组合物和方法                                        CN02811017           2002-05-02                US09847945                                     2001-05-02                    2010-02-10
                                                                                                                                            P·孙雄
                                                                                                                                            N·P·德塞;
CN101160123B         治疗剂的组合                                             CN200680011677       2006-02-21                US60654245                                     2005-02-18                    2013-07-17
                                                                                                                                            P·颂雄
                                                                                                                                            T·德;
                                                                                                                       US60712865;          N·P·德赛;
CN101291658B         用于制备稳定性增加的水难溶性药物的组合物和方法                            CN200680038640       2006-08-30                US60736962;          A·杨;                      2005-08-31; 2005-11-14; 2005-11-14
                                                                                                                                                                                                     2014-04-16
                                                                                                                       US60736931           Z·因;
                                                                                                                                            P·M·D·顺-希昂
                                                                                                                                            V·特里鲁;
CN101454673B         SPARC及其使用方法                                        CN200780019544       2007-03-29                US60788208           N·P·德塞;                   2006-03-31                    2014-02-12
                                                                                                                                            P·索恩-希翁
                                                                                                                                            N·P·德塞;
                                                                                                                       US61169665;
CN102460167B         不含朊病毒的纳米颗粒组合物和方法                                   CN201080026604       2010-04-15                                     V·裴科夫;                    2009-04-15; 2009-08-28        2015-07-22
                                                                                                                       US61238052
                                                                                                                                            P·孙雄
                                                                                                                                            C·陶;
CN102573832B         利用紫杉烷和刺猬抑制剂的纳米颗粒组合物的联合治疗                           CN201080045983       2010-08-25                US61236813           N·P·德赛;                   2009-08-25                    2015-07-22
                                                                                                                                            P·孙雄
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                                                                                                                                                       内尔·P·代塞;
                                                                                                                                                       内尔
                                                                                                                                                       陶春林;
                                                                                                                                                       陶春林
                                                                                                                                                       安杰·杨;
                                                                                                                                                       安杰
                                                                                                                                                       莱斯烈·路易;
                                                                                                                                                       莱斯烈
CN1515244B           蛋白质稳定的药理活性物质及其它的制备和应用方法                                       CN200310123461       1997-09-24                US08720756                                   1996-10-01               2013-08-07
                                                                                                                                                       郑天立;
                                                                                                                                                       郑天立
                                                                                                                                                       姚志文;
                                                                                                                                                       姚志文
                                                                                                                                                       帕奇克·苏-雄;
                                                                                                                                                       帕奇克
                                                                                                                                                       什落莫·马格达西
                                                                                                                                                       什落莫
                                                                                                                                                       V·特利乌;
                                                                                                                                  US60571622;
CN1980699B           利用白蛋白-结合蛋白作为靶标的治疗方法
                     利用白蛋白                                                         CN200580020748       2005-05-16                                     N·P·德赛;                 2004-05-14; 2005-02-18   2012-03-21
                                                                                                                                  US60654261
                                                                                                                                                       P·苏恩-施昂
                                                                                                                                                       DESAI Neil P;
                     ΣΥΝΔΥΑΣΜΟΙ ΚΑΙ ΤΡΟΠΟΙ ΧΟΡΗΓΗΣΗΣ ΘΕΡΑΠΕΥΤΙΚΩΝ                                                                                      SOON-SHIONG Patrick;
CY1112907T1                                                                        CY121100013          2012-01-05                EP06735710                                   2006-02-21               2016-04-13
                     ΠΑΡΑΓΟΝΤΩΝ ΚΑΙ ΘΕΡΑΠΕΙΑ ΣΥΝΔΥΑΣΜΟΥ                                                                                                DESAI Neil P;
                                                                                                                                                       SOON-SHIONG Patrick
                                                                                                                                                       DESAI NEIL P;
                                                                                                                                                       TAO CHUNLIN;
                                                                                                                                                       YANG ANDREW;
                     PROTEIN-STABILISIERTE PHARMAZEUTISCHE WIRKSTOFFE                                                                                  LOUIE LESLIE;
DE69739348D1                                                                       DE69739348           1997-09-24                US08720756                                   1996-10-01               2009-05-20
                     UND DEREN VERWENDUNG                                                                                                              ZHENG TIANLI;
                                                                                                                                                       YAO ZHIWEN;
                                                                                                                                                       SOON-SHIONG PATRICK;
                                                                                                                                                       MAGDASSI SHLOMO
                                                                                                                                                       SAHADEVAN DAVID C;
                     NYE FORMULERINGER AF FARMAKOLOGISKE MIDLER,
                                                                                                                                                       DESAI NEIL P;
DK1023050T3          FREMGANGSMÅDER TIL FREMSTILLINGEN DERAF OG                    DK98932874           1998-06-26                US08926155                                   1997-09-09               2013-10-14
                                                                                                                                                       SOON-SHIONG PATRICK;
                     FREMGANGSMÅDER TIL ANVENDELSEN DERAF
                                                                                                                                                       MAGDASSI SHLOMO
                     NANOPARTIKLER AF PACLITAXEL OG ALBUMIN I                                                                                          DESAI NEIL P;
DK2097078T3                                                                        DK07839976           2007-11-06                US11594417                                   2006-11-06               2014-05-12
                     KOMBINATION MED BEVACIZUMAB MOD KRÆFT                                                                                             SOON-SHIONG PATRICK
                                                                                                                                                       TAO CHUNLIN;
                     Kombinationsterapi med nanopartikelsammensætninger af
DK2470173T3                                                                        DK10812593           2010-08-25                DK10812593           DESAI NEIL P;           2010-08-25               2016-06-06
                     taxan og hedgehog-inhibitorer
                                                                                                                                                       SOON-SHIONG PATRICK
                     Nanopartikler af paclitaxel og albumin i kombination med                                                                          DESAI NEIL P;
DK2481405T3                                                                        DK12154995           2007-11-06                US11594417                                   2006-11-06               2016-06-06
                     bevacizumab mod kræft                                                                                                             SOON-SHIONG PATRICK
                                                                                                                                                       SOON-SHIONG PATRICK;
DK2552415T3          Fremgangsmåder til behandling af cancer                       DK11763292           2011-03-28                DK11763292                                   2011-03-28               2016-11-28
                                                                                                                                                       DESAI NEIL P
                                                                                                                                                       DESAI NEIL P;
                                                                                                                                                       ZHENG TIANLI;
                                                                                                                                                       SOON-SHIONG PATRICK;
                     Protein-stabiliserede-farmakologisk-aktive-midler og deres                                                                        MAGDASSI SHLOMO;
DK961612T3                                                                         DK97944429           1997-09-24                US08720756                                   1996-10-01               2009-06-15
                     anvendelse                                                                                                                        TAO CHUNLIN;
                                                                                                                                                       YANG ANDREW;
                                                                                                                                                       LOUIE LESLIE;
                                                                                                                                                       YAO ZHIWEN
                                                                                                                                                       TAO CHUNLIN;
                                                                                                                                                       YANG ANDREW;
                                                                                                                                                       LOUIE LESLIE;
                     Protein-stabiliserede, farmakologisk aktive midler og deres                                                                       YAO ZHIWEN;
DK961612T4                                                                         DK97944429           1997-09-24                US08720756                                   1996-10-01               2012-10-08
                     anvendelse                                                                                                                        DESAI NEIL P;
                                                                                                                                                       ZHENG TIANLI;
                                                                                                                                                       SOON-SHIONG PATRICK;
                                                                                                                                                       MAGDASSI SHLOMO
                                                                                                                                                       DESAI, Neil, P.;
                     ZUSAMMENSETZUNGEN VON PHARMAKOLOGISCHEN
                                                                                                                                  US08051021;          SOON-SHIONG, Patrick;
EP1023050B1          WIRKSTOFFEN, VERFAHREN ZU DEREN HERSTELLUNG UND               EP98932874           1998-06-26                                                             1997-06-27; 1997-09-09   2013-09-25
                                                                                                                                  US08926155           MAGDASSI, Shlomo;
                     DEREN VERWENDUNG
                                                                                                                                                       SAHADEVAN, David, C.
                                                                                                                                                       TRIEU, Vuong;
                     BEHANDLUNGSMETHODEN UNTER VERWENDUNG VON                                                                     US60571622;
EP1755653B1                                                                        EP05804826           2005-05-16                                     DESAI, Neil P.;         2004-05-14; 2005-02-18   2014-12-31
                     ALBUMINBINDENDEN PROTEINEN ALS TARGETS                                                                       US60654261
                                                                                                                                                       SOON-SHIONG Patrick
                     KOMBINATIONEN UND MODI ZUR VERABREICHUNG                                                                     WOUS06006167;        DESAI, Neil, P.;
EP1853250B1                                                                        EP06735710           2006-02-21                                                             2006-02-21; 2005-02-18   2011-11-02
                     THERAPEUTISCHER MITTEL UND KOMBINATIONSTHERAPIE                                                              US60654245           SOON-SHIONG, Patrick
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                                                                                                                                                   Desai, Neil, P.;
                                                                                                                                                   Tao, Chunlin;
                                                                                                                                                   Yang, Andrew;
                     Verfahren zur Herstellung proteinstabilisierter                                                                               Louie, Leslie;
EP1944019B1                                                                    EP08006374           1997-09-24                US720756                                     1996-10-01               2016-09-07
                     pharmakologisch aktiver Wirkstoffe                                                                                            Zheng, Tianli;
                                                                                                                                                   Yao, Zhiwen;
                                                                                                                                                   Soon-Shiong, Patrick;
                                                                                                                                                   Magdassi, Shlomo
                                                                                                                                                   TAO, Chunlin;
                     DERIVATE VON 18-AMINO-SUBSTITUIERTEN ANALOGA DES                                                                              HAN, Hongna;
                                                                                                                              WOUS07084662;
EP2091919B1          GELDAMYCIN-HYDROCHINONS MIT CYCTOTOXISCHER                EP07854639           2007-11-14                                     SUN, Xiaowen;           2007-11-14; 2006-11-15   2011-08-17
                                                                                                                              US60865977
                     WIRKUNG FÜR DIE BEHANDLUNG VON KREBS                                                                                          DESAI, Neil;
                                                                                                                                                   SOON-SHIONG, Patrick
                     NANOTEILCHEN VON PACLITAXEL UND ALBUMIN IN                                                                                    DESAI, Neil P.;
EP2097078B1                                                                    EP07839976           2007-11-06                US11594417                                   2006-11-06               2014-04-16
                     KOMBINATION MIT BEVACIZUMAB GEGEN KREBS                                                                                       SOON-SHIONG, Patrick
                     VERFAHREN UND ZUSAMMENSETZUNGEN ZUR                                                                                           DESAI, Neil, P.;
EP2155188B1                                                                    EP08768111           2008-06-02                US60932750                                   2007-06-01               2013-10-09
                     BEHANDLUNG EINES TUMORREZIDIVS                                                                                                SOON-SHIONG, Patrick
                                                                                                                                                   Desai, Neil P.;
                                                                                                                                                   Soon-Shiong, Patrick;
EP2425840B1          Triazinderivate und deren therapeutische Anwendungen      EP11007839           2007-12-14                US60875057                                   2006-12-15               2015-04-08
                                                                                                                                                   Tao, Chunlin;
                                                                                                                                                   Wang, Qinwei
                     KOMBINATIONSTHERAPIE MIT                                                                                                      TAO, Chunlin;
EP2470173B1          NANOPARTIKELZUSAMMENSETZUNGEN AUS TAXAN UND                EP10812593          2010-08-25                US61236813           DESAI, Neil, P.;        2009-08-25               2016-04-27
                     HEDGEHOG-HEMMERN                                                                                                              SOON-SHIONG, Patrick
                     Nanoteilchen von Paclitaxel und Albumin in Kombination mit                                                                    Desai, Neil P.;
EP2481405B1                                                                     EP12154995          2007-11-06                US594417                                     2006-11-06               2016-03-23
                     Bevacizumab gegen Krebs                                                                                                       Soon-Shiong, Patrick
                                                                                                                              US61318774;          DESAI, Neil, P.;
EP2552415B1          VERFAHREN ZUR BEHANDLUNG VON KARZINOMEN                   EP11763292           2011-03-28                                                             2010-03-29; 2011-01-14   2016-09-07
                                                                                                                              US61433132           SOON-SHIONG, Patrick
                                                                                                                                                   DESAI, Neil, P.;
                                                                                                                                                   TAO, Chunlin;
                                                                                                                                                   YANG, Andrew;
                     PROTEIN-STABILISIERTE PHARMAZEUTISCHE WIRKSTOFFE                                                                              LOUIE, Leslie;
EP961612B2                                                                     EP97944429           1997-09-24                US08720756                                   1996-10-01               2012-08-01
                     UND DEREN VERWENDUNG                                                                                                          ZHENG, Tianli;
                                                                                                                                                   YAO, Zhiwen;
                                                                                                                                                   SOON-SHIONG, Patrick;
                                                                                                                                                   MAGDASSI, Shlomo
                                                                                                                                                   DESAI NEIL P;
                                                                                                                                                   TAO CHUNLIN;
                                                                                                                                                   YANG ANDREW;
                     Agentes farmacológicamente activos revestidos con proteína                                                                    LOUIE LESLIE;
ES2323559T5                                                                     ES97944429          1997-09-24                US08720756                                   1996-10-01               2012-12-03
                     y su utilización                                                                                                              ZHENG TIANLI;
                                                                                                                                                   YAO ZHIWEN;
                                                                                                                                                   SOON-SHIONG PATRICK;
                                                                                                                                                   MAGDASSI SHLOMO
                                                                                                                                                   DESAI NEIL P;
                     Nuevas formulaciones de agentes farmacológicos, métodos                                                                       SOON-SHIONG PATRICK;
ES2435944T3                                                                    ES98932874           1998-06-26                US08926155                                   1997-09-09               2013-12-26
                     para su preparación y métodos para su uso                                                                                     MAGDASSI SHLOMO;
                                                                                                                                                   SAHADEVAN DAVID C
                     Nanopartículas de paclitaxel y albúmina en combinación con                                                                    DESAI NEIL P;
ES2469716T3                                                                     ES07839976          2007-11-06                US11594417                                   2006-11-06               2014-06-18
                     bevacizumab contra el cáncer                                                                                                  SOON-SHIONG PATRICK
                     Nanopartículas de paclitaxel y albúmina en combinación con                                                                    DESAI NEIL P;
ES2576289T3                                                                     ES12154995          2007-11-06                US11594417                                   2006-11-06               2016-07-06
                     bevacizumab contra el cáncer                                                                                                  SOON-SHIONG PATRICK
                                                                                                                                                   TAO CHUNLIN;
                     Terapia combinada con composiciones de nanopartículas de
ES2577024T3                                                                   ES10812593            2010-08-25                ES10812593           DESAI NEIL P;           2010-08-25               2016-07-12
                     taxano e inhibidores de Hedgehog
                                                                                                                                                   SOON-SHIONG PATRICK
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                                                                                                                                                     LOUIE LESLIE;
                                                                                                                                                     DESAI NEIL P;
                                                                                                                                                     SOON-SHIONG PATRICK;
                     PROTEIN STABILIZED PHARMACOLOGICALLY ACTIVE AGENTS                                                                              TAO CHUNLIN;
HK1024866A1                                                             HK00103153                    2000-05-27                US08720756                                   1996-10-01               2009-11-13
                     AND THEIR USE                                                                                                                   ZHENG TIANTLI;
                                                                                                                                                     YANG ANDREW;
                                                                                                                                                     MAGDASSI SHLOMO;
                                                                                                                                                     YAO ZHIWEN
                                                                                                                                                     DESAI NEIL P;
                     NOVEL FORMULATIONS OF PHARMACOLOGICAL AGENTS,
                                                                                                                                                     SOON-SHIONG PATRICK;
HK1030543A1          METHODS FOR THE PREPARATION THEREOF AND METHODS HK01100752                       2001-02-02                US08926155                                   1997-09-09               2014-04-17
                                                                                                                                                     MAGDASSI SHLOMO;
                     FOR THE USE THEREOF
                                                                                                                                                     DAVID C SAHADEVAN
                     COMBINATIONS AND MODES OF ADMINISTRATION OF                                                                WOUS06006167;        DESAI NEIL P;
HK1109589A1                                                                      HK08104204           2008-04-14                                                             2006-02-21; 2005-02-18   2012-01-06
                     THERAPEUTIC AGENTS AND COMBINATION THERAPY                                                                 US60654245           SOON-SHIONG PATRICK
                                                                                                                                                     DESAI NEIL P;
HK1119071A1          COMBINATIONS OF THERAPEUTIC AGENTS                          HK08111140           2008-10-08                HK08111140                                   2008-10-08               2014-04-04
                                                                                                                                                     SOON-SHIONG PATRICK
                     METHODS AND COMPOSITIONS FOR TREATING RECURRENT                                                                                 DESAI NEIL P;
HK1140944A1                                                                      HK10107362           2010-08-03                HK10107362                                   2010-08-03               2014-06-27
                     CANCER                                                                                                                          SOON-SHIONG PATRICK
                                                                                                                                                     ‧德塞;
                                                                                                                                                     ‧德塞
                                                                                                                                                     ‧孫雄;
                                                                                                                                                     ‧孫雄
HK1210045A1          用包含紫杉烷的納米顆粒基於激素受體狀態治療乳腺癌                                    HK15110929           2015-11-05                HK15110929                                   2015-11-05               2016-04-15
                                                                                                                                                     ‧德塞;
                                                                                                                                                     ‧德塞
                                                                                                                                                     ‧孫雄
                                                                                                                                                     Desai, Neil P.;
                                                                                                                                                     Soon-Shiong, Patrick;
HRP20131142T1        POSTUPCI I PRIPRAVCI ZA LIJEÄŚENJE RECIDIVA RAKA            HRP20131142          2013-11-28                HRP20131142                                  2013-11-28               2014-01-03
                                                                                                                                                     Desai, Neil P.;
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Tao, Chunlin;
                                                                                                                                                     Desai, Neil P.;
                     KOMBINIRANA TERAPIJA S PRIPRAVCIMA NANOČESTICA                                                                                  Soon-Shiong, Patrick;
HRP20160551T8                                                                    HRP20160551          2016-05-23                EP10812593                                   2010-08-25               2016-11-18
                     TAKSANA I HEDGEHOG INHIBITORA                                                                                                   Tao, Chunlin;
                                                                                                                                                     Desai, Neil P.;
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     DESAI NEIL P;
                     Novel formulations of pharmacological agents, methods for                                                                       SOON-SHIONG PATRICK;
HU230338B1                                                                       HU0003972            1998-06-26                US08926155                                   1997-09-09               2016-02-29
                     the preparation thereof and methods for the use thereof                                                                         MAGDASSI SHLOMO;
                                                                                                                                                     SAHADEVAN DAVID C
                                                                                                                                                     DESAI NEIL P;
                     NUEVAS FORMULACIONES DE AGENTES FARMACOLOGICOS,
                                                                                                                                                     SOON-SHIONG PATRICK;
MX337149B            METODOS PARA SU PREPARACION Y METODOS PARA EL USO MX12014591                     1998-06-26                US08926155                                   1997-09-09               2016-02-15
                                                                                                                                                     MAGDASSI SHLOMO;
                     DE LOS MISMOS.
                                                                                                                                                     SAHADEVAN DAVID C
                     COMBINACIONES Y METODOS DE ADMINISTRACION DE                                                                                    DESAI NEIL P;
MX339142B                                                                        MX2011009748         2006-02-21                MX2011009748                                 2006-02-21               2016-05-13
                     AGENTES TERAPEUTICOS Y TERAPIA DE COMBINACION.                                                                                  SOON-SHIONG PATRICK
                                                                                                                                                     SOON-SHIONG PATRICK;
                                                                                                                                                     DESAI NEIL P;
                                                                                                                                                     TAO CHUNLIN;
                     Proteinstabiliserte farmakologisk virksomme midler,
                                                                                                                                                     YANG ANDREW;
NO328689B1           fremgangsmate for fremstilling av disse og fremgangsmate    NO991620             1999-04-06                US08720756                                   1996-10-01               2010-04-26
                                                                                                                                                     LOUIE LESLIE;
                     for anvendelse av disse.
                                                                                                                                                     ZHENG TIANLI;
                                                                                                                                                     YAO ZHIWEN;
                                                                                                                                                     MAGDASSI SHLOMO
                                                                                                                                                     SOON-SHIONG PATRICK;
                                                                                                                                                     DESAI NEIL P;
NO332166B1           Formuleringer av paklitaksel                                NO996433             1999-12-23                US08926155                                   1997-09-09               2012-07-09
                                                                                                                                                     MAGDASSI SHLOMO;
                                                                                                                                                     SAHADEVAN DAVID C
                                                                                                                                                     MAGDASSI SHLOMO;
                     NOVAS FORMULAÇÕES DE AGENTES FARMACOLÓGICOS,
                                                                                                                                                     SOON-SHIONG PATRICK;
PT1023050E           MÉTODOS PARA A SUA PREPARAÇÃO E MÉTODOS PARA A              PT09893287           1998-06-26                US08926155                                   1997-09-09               2013-12-04
                                                                                                                                                     DESAI NEIL P;
                     SUA UTILIZAÇÃO
                                                                                                                                                     SAHADEVAN DAVID C
                     NANOPARTÍCULAS DE PACLITAXEL E ALBUMINA EM                                                                                      SOON-SHIONG PATRICK;
PT2097078E                                                                       PT07839976           2007-11-06                US11594417                                   2006-11-06               2014-07-25
                     COMBINAÇÃO COM BEVACIZUMAB CONTRA O CANCRO                                                                                      DESAI NEIL P
                                                Case 4:16-cv-03155 Document 18-3 Filed on 12/16/16 in TXSD Page 16 of 44


Publication Number   Title                                                        Application Number   Application/Filing Date   Priority Number(s)   Inventor                   Priority Date(s)               Publication Date
                                                                                                                                                      PATRICK SOON-SHIONG;
                     TERAPIA DE COMBINAÇÃO COM COMPOSIÇÕES
PT2470173E                                                            PT10812593                       2010-08-25                PT10812593           NEIL P DESAI;              2010-08-25                     2016-06-15
                     NANOPARTICULADAS DE TAXANO E INIBIDORES HEDGEHOG
                                                                                                                                                      CHUNLIN TAO
                     NANOPARTÍCULAS DE PACLITAXEL E ALBUMINA EM                                                                                       PATRICK SOON-SHIONG;
PT2481405E                                                                        PT12154995           2007-11-06                US11594417                                      2006-11-06                     2016-06-08
                     COMBINAÇÃO COM BEVACIZUMAB CONTRA O CANCRO                                                                                       NEIL P DESAI
                                                                                                                                                      MAGDASSI SHLOMO;
                                                                                                                                                      SOON-SHIONG PATRICK;
                                                                                                                                                      DESAI NEIL P;
                     AGENTES FARMACOLOGICAMENTE ACTIVOS ESTABILIZADOS                                                                                 TAO CHUNLIN;
PT961612E                                                             PT97944429                       1997-09-24                US08720756                                      1996-10-01                     2009-06-17
                     POR PROTEÍNA E SUA UTILIZAÇÃO                                                                                                    YANG ANDREW;
                                                                                                                                                      ZHENG TIANLI;
                                                                                                                                                      LOUIE LESLIE;
                                                                                                                                                      YAO ZHIWEN
                                                                                                                                                      DESAI Neil P.;
                     Nanodelci paklitaksela in albumina v kombinaciji z                                                          US11594417;          SOON-SHIONG Patrick;
SI2097078T1                                                                       SI200731475          2007-11-06                                                                2006-11-06; 2007-11-06         2014-07-31
                     bevacizumabom proti raku                                                                                    EP07839976           DESAI Neil P.;
                                                                                                                                                      SOON-SHIONG Patrick
                                                                                                                                                      Desai Neil P.;
                     Nanodelci paklitaksela in albumina v kombinaciji z                                                          US11594417;          Soon-Shiong Patrick;
SI2481405T1                                                                       SI200731795          2007-11-06                                                                2006-11-06; 2007-11-06         2016-08-31
                     bevacizumabom proti raku                                                                                    EP12154995           Desai Neil P.;
                                                                                                                                                      Soon-Shiong Patrick
                                                                                                                                                      Дисей Нейл П.;
                                                                                                                                                      Соон-Шыонг Патрик;
                     НАНОЧАСТИЦА, КОТОРАЯ СОДЕРЖИТ РАПАМИЦИН И                                                                                        Триеу Вуонг;
UA101610C2                                                                        UA2009010156         2008-03-07                UA2009010156                                    2008-03-07                     2013-04-25
                     АЛЬБУМИН, В КАЧЕСТВЕ ПРОТИВОРАКОВОГО АГЕНТА                                                                                      Дисей Нейл П.;
                                                                                                                                                      Соон-Шыонг Патрик;
                                                                                                                                                      Триеу Вуонг
                                                                                                                                                      TAO CHUNLIN;
                     COMBINATION THERAPY COMPOSITION OF NANOPARTICLES
UA110196C2                                                            UA201203446                      2010-08-25                UA201203446          DESAI NEIL P;              2010-08-25                     2015-12-10
                     OF TUCSON AND INHIBITORS HEDZHHOH
                                                                                                                                                      SOON-SHIONG PATRICK
                                                                                                                                                      Де Тапас;
                                                                                                                                                      Дисей Нейл П.;
                                                                                                                                                      Янг Эндрю;
                                                                                                                                                      Им Захари;
                     КОМПОЗИЦИЯ ДОЦЕТАКСЕЛА И ЦИТРАТА ДЛЯ ЛЕЧЕНИЯ                                                                                     Соон-Шионг Патрик М. Д.;
UA96273C2                                                                         UA2008003886         2006-08-30                UA2008003886                                    2006-08-30                     2011-10-25
                     РАКА                                                                                                                             Де Тапас;
                                                                                                                                                      Дисей Нейл П.;
                                                                                                                                                      Янг Эндрю;
                                                                                                                                                      Им Захари;
                                                                                                                                                      Соон-Шионг Патрик М. Д.
                                                                                                                                                      DESAI NEIL P;
                                                                                                                                                      TAO CHUNLIN;
                                                                                                                                                      YANG ANDREW;
                     Protein stabilized pharmacologically active agents, methods                                                                      LOUIE LESLIE;
US5916596A                                                                       US08720756            1996-10-01                US08720756                                      1996-10-01                     1999-06-29
                     for the preparation thereof and methods for the use thereof                                                                      ZHENG TIANLI;
                                                                                                                                                      YAO ZHIWEN;
                                                                                                                                                      SOON-SHIONG PATRICK;
                                                                                                                                                      MAGDASSI SHLOMO
                                                                                                                                                      MAGDASSI SHLOMO;
                                                                                                                                                      YANG ANDREW;
                     Total nutrient admixtures as stable multicomponent liquids                                                  US08412726;          TAO CHUNLIN;
US5997904A                                                                        US08723805           1996-09-30                                                                1995-03-29; 1993-02-22         1999-12-07
                     or dry powders and methods for the preparation thereof                                                      US08023698           DESAI NEIL P;
                                                                                                                                                      YAO ZHIWEN;
                                                                                                                                                      SOON-SHIONG PATRICK
                                                                                                                                 US08720756;
                                                                                                                                 US08485448;
                     Methods and compositions useful for administration of                                                                            DESAI NEIL P;
US6096331A                                                                        US08926155           1997-09-09                US08200235;                                     1996-10-01; 1995-06-07; 1994-02-22;
                                                                                                                                                                                                                2000-08-01
                                                                                                                                                                                                                     1993-02-22; 1993-03-26
                     chemotherapeutic agents                                                                                                          SOON-SHIONG PATRICK
                                                                                                                                 US08023698;
                                                                                                                                 US08035150
                                                Case 4:16-cv-03155 Document 18-3 Filed on 12/16/16 in TXSD Page 17 of 44


Publication Number   Title                                                        Application Number   Application/Filing Date   Priority Number(s)   Inventor                 Priority Date(s)               Publication Date
                                                                                                                                 US09628388;
                                                                                                                                 US08926155;
                                                                                                                                 US08720756;
                                                                                                                                                      Desai, Neil P.;
US6506405B1          Methods and formulations of cremophor-free taxanes           US09628388           2000-08-01                US08485448;                                   2000-08-01; 1997-09-09; 1996-10-01;
                                                                                                                                                                                                              2003-01-14
                                                                                                                                                                                                                   1995-06-07; 1994-02-22; 1993-03-26; 1993-02-22
                                                                                                                                                      Soon-Shiong, Patrick
                                                                                                                                 US08200235;
                                                                                                                                 US08035150;
                                                                                                                                 US08023698
                                                                                                                                                      Magdassi, Shlomo;
                                                                                                                                 US09457085;          Yang, Andrew;
                     Total nutrient admixtures as stable multicomponent liquids                                                  US08412726;          Tao, Chunlin;
US6528067B1                                                                       US09457085           1999-12-07                                                              1999-12-07; 1995-03-29; 1993-02-22;
                                                                                                                                                                                                              2003-03-04
                                                                                                                                                                                                                   1996-09-30
                     or dry powders and methods for the preparation thereof                                                      US08023698;          Desai, Neil P.;
                                                                                                                                 US08723805           Yao, Zhiwen;
                                                                                                                                                      Soon-Shiong, Patrick
                     Compositions and methods for administration of                                                                                   Desai, Neil P.;
US6537579B1                                                                       US09574763           2000-05-19                US09574763                                    2000-05-19                     2003-03-25
                     pharmacologically active compounds                                                                                               Soon-Shiong, Patrick
                                                                                                                                                      Desai, Neil P.;
                                                                                                                                                      Tao, Chunlin;
                                                                                                                                                      Yang, Andrew;
                     Protein stabilized pharmacologically active agents, methods
US6749868B1                                                                      US09316642            1999-05-21                US09316642           Louie, Leslie;           1999-05-21                     2004-06-15
                     for the preparation thereof and methods for the use thereof
                                                                                                                                                      Yao, Zhiwen;
                                                                                                                                                      Soon-Shiong, Patrick;
                                                                                                                                                      Magdassi, Shlomo
                                                                                                                                 US09629501;
                                                                                                                                 US08926155;
                                                                                                                                 US08720756;          Desai, Neil P.;
US6753006B1          Paclitaxel-containing formulations                           US09629501           2000-07-31                                                              2000-07-31; 1997-09-09; 1996-10-01;
                                                                                                                                                                                                              2004-06-22
                                                                                                                                                                                                                   1995-06-07; 1994-02-22; 1993-02-22
                                                                                                                                 US08485448;          Soon-Shiong, Patrick
                                                                                                                                 US08200235;
                                                                                                                                 US08023698
                                                                                                                                                      Trieu, Vuong ;
US7332568B2          Q3 SPARC deletion mutant and uses thereof                    US11356829           2006-02-17                US60654261           Desai, Neil P. ;         2005-02-18                     2008-02-19
                                                                                                                                                      Soon-Shiong, Patrick
                                                                                                                                                      Soon-Shiong, Patrick ;
                     Di-ester prodrugs of camptothecin, process for their                                                                             Desai, Neil P. ;
US7700612B2                                                                       US10583803           2004-12-23                US11583803                                    2004-12-23                     2010-04-20
                     preparation and their therapeutical applications                                                                                 Tao, Chunlin ;
                                                                                                                                                      Yu, Cheng Zhi
                     Combinations and modes of administration of therapeutic                                                                          Desai, Neil P. ;
US7758891B2                                                                       US12334115           2008-12-12                US12334115                                    2008-12-12                     2010-07-20
                     agents and combination therapy                                                                                                   Soon-Shiong, Patrick
                                                                                                                                                      Desai, Neil P. ;
                     Compositions comprising poorly water soluble                                                                                     Selvaraj, Raj ;
US7771751B2                                                                       US11514030           2006-08-30                US11514030                                    2006-08-30                     2010-08-10
                     pharmaceutical agents and antimicrobial agents                                                                                   Yang, Andrew ;
                                                                                                                                                      Soon-Shiong, Patrick
                                                                                                                                                      Desai, Neil P. ;
US7780984B2          Methods and compositions for treating proliferative diseases US11880314           2007-07-20                US11880314           Soon-Shiong, Patrick ;   2007-07-20                     2010-08-24
                                                                                                                                                      De, Tapas K.
                                                                                                                                                      Tao, Chunlin ;
                                                                                                                                                      Wang, Qinwei ;
US7799954B2          Dicarbonyl derivatives and methods of use                    US11939909           2007-11-14                US11939909           Trieu, Vuong ;           2007-11-14                     2010-09-21
                                                                                                                                                      Desai, Neil ;
                                                                                                                                                      Soon-Shiong, Patrick
                                                                                                                                                      Tao, Chunlin ;
                                                                                                                                                      Han, Hongna ;
                     Analogs of ansamycin and pharmaceutical compositions
US7816346B2                                                                       US11940644           2007-11-15                US11940644           Sun, Xiaowen ;           2007-11-15                     2010-10-19
                     thereof
                                                                                                                                                      Desai, Neil ;
                                                                                                                                                      Soon-Shiong, Patrick
                                                                                                                                                      Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US7820788B2                                                                       US11553339           2006-10-26                US11553339           Soon-Shiong, Patrick ;   2006-10-26                     2010-10-26
                     agents
                                                                                                                                                      Trieu, Vuong
                                                                                                                                                      Tao, Chunlin ;
                                                                                                                                                      Wang, Qinwei ;
US7858782B2          Triazine derivatives and their therapeutical applications    US11956883           2007-12-14                US11956883                                    2007-12-14                     2010-12-28
                                                                                                                                                      Desai, Neil P. ;
                                                                                                                                                      Soon-Shiong, Patrick
                                                Case 4:16-cv-03155 Document 18-3 Filed on 12/16/16 in TXSD Page 18 of 44


Publication Number   Title                                                       Application Number   Application/Filing Date   Priority Number(s)   Inventor                 Priority Date(s)   Publication Date
                                                                                                                                                     Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US7923536B2                                                                      US12758413           2010-04-12                US12758413           Soon-Shiong, Patrick ;   2010-04-12         2011-04-12
                     agents
                                                                                                                                                     Trieu, Vuong
                                                                                                                                                     De, Tapas ;
                                                                                                                                                     Desai, Neil P. ;
                     Compositions and methods for preparation of poorly water
US7981445B2                                                                      US12402358           2009-03-11                WOUS06034103         Yang, Andrew ;           2006-08-30         2011-07-19
                     soluble drugs with increased stability
                                                                                                                                                     Yim, Zachary ;
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                                                                                                                                                     Tao, Chunlin ;
                     Compositions, methods of use and preparation of 2,6-
US8026275B2                                                                      US11816311           2006-02-17                US11816311           Yu, Cheng Zhi ;          2006-02-17         2011-09-27
                     diisopropyl phenol and analogs for ischemic injury
                                                                                                                                                     Trieu, Vuong ;
                                                                                                                                                     Soon-Shiong, Patrick
                     Combinations and modes of administration of therapeutic                                                                         Desai, Neil P. ;
US8034375B2                                                                      US11359286           2006-02-21                US11359286                                    2006-02-21         2011-10-11
                     agents and combination therapy                                                                                                  Soon-Shiong, Patrick
                                                                                                                                                     De, Tapas ;
                                                                                                                                                     Desai, Neil P. ;
                     Compositions and methods for preparation of poorly water
US8034765B2                                                                      US11513756           2006-08-30                US11513756           Yang, Andrew ;           2006-08-30         2011-10-11
                     soluble drugs with increased stability
                                                                                                                                                     Yim, Zachary ;
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                                                                                                                                                     Tao, Chunlin ;
                     Formulations of pharmacological agents, methods for the
US8137684B2                                                                      US11520523           2006-09-12                US11520523           Yang, Andrew ;           2006-09-12         2012-03-20
                     preparation thereof and methods for the use thereof
                                                                                                                                                     Louie, Leslie ;
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US8138229B2                                                                      US12910693           2010-10-22                US12910693           Soon-Shiong, Patrick ;   2010-10-22         2012-03-20
                     agents
                                                                                                                                                     Trieu, Vuong
                                                                                                                                                     Desai, Neil P. ;
US8257733B2          Methods and compositions for treating proliferative diseases US11544242          2006-10-06                US11544242           Soon-Shiong, Patrick ;   2006-10-06         2012-09-04
                                                                                                                                                     De, Tapas
                     Combinations and modes of administration of therapeutic                                                                         Desai, Neil P. ;
US8268348B2                                                                      US13228323           2011-09-08                US13228323                                    2011-09-08         2012-09-18
                     agents and combination therapy                                                                                                  Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US8314156B2                                                                      US13038287           2011-03-01                US13038287           Soon-Shiong, Patrick ;   2011-03-01         2012-11-20
                     agents
                                                                                                                                                     Trieu, Vuong
                                                                                                                                                     Trieu, Vuong ;
US8415304B2          Sparc and methods of use thereof                            US12295068           2007-03-29                US12295068           Desai, Neil P. ;         2007-03-29         2013-04-09
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Trieu, Vuong ;
US8420603B2          SPARC and methods of use thereof                            US11599100           2006-11-14                US11599100           Desai, Neil P. ;         2006-11-14         2013-04-16
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                                                                                                                                                     Soon-Shiong, Patrick ;
US8580786B2          Triazine derivatives and their therapeutical applications   US12971786           2010-12-17                US12971786                                    2010-12-17         2013-11-12
                                                                                                                                                     Tao, Chunlin ;
                                                                                                                                                     Wang, Qinwei
                     Combinations and modes of administration of therapeutic                                                                         Desai, Neil P. ;
US8735394B2                                                                      US12436697           2009-05-06                US12436697                                    2009-05-06         2014-05-27
                     agents and combination therapy                                                                                                  Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US8846771B2                                                                      US13649987           2012-10-11                US13649987           Soon-Shiong, Patrick ;   2012-10-11         2014-09-30
                     agents
                                                                                                                                                     Trieu, Vuong
                     Formulations of pharmacological agents, methods for the                                                                         Desai, Neil P. ;
US8853260B2                                                                      US11520479           2006-09-12                US11520479                                    2006-09-12         2014-10-07
                     preparation thereof and methods for the use thereof                                                                             Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
                     Nanoparticle comprising rapamycin and albumin as
US8911786B2                                                                      US12530188           2008-03-07                US12530188           Soon-Shiong, Patrick ;   2008-03-07         2014-12-16
                     anticancer agent
                                                                                                                                                     Trieu, Vuong
                                                                                                                                                     Trieu, Vuong ;
US8916204B2          SPARC and methods of use thereof                            US13800132           2013-03-13                US13800132           Desai, Neil P. ;         2013-03-13         2014-12-23
                                                                                                                                                     Soon-Shiong, Patrick
                                                                                                                                                     Desai, Neil P. ;
US8927019B2          Methods and compositions for treating recurrent cancer      US12600991           2008-06-02                US12600991                                    2008-06-02         2015-01-06
                                                                                                                                                     Soon-Shiong, Patrick
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                                                                                                                                                    Trieu, Vuong ;
US8946169B2          SPARC and methods of use thereof                           US13791009           2013-03-08                US13791009           Desai, Neil P. ;         2013-03-08         2015-02-03
                                                                                                                                                    Soon-Shiong, Patrick
                     Breast cancer therapy based on hormone receptor status                                                                         Desai, Neil P. ;
US8999396B2                                                                     US13779624           2013-02-27                US13779624                                    2013-02-27         2015-04-07
                     with nanoparticles comprising taxane                                                                                           Soon-Shiong, Patrick
                                                                                                                                                    Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US9012518B2                                                                     US13777980           2013-02-26                US13777980           Soon-Shiong, Patrick ;   2013-02-26         2015-04-21
                     agents
                                                                                                                                                    Trieu, Vuong
                                                                                                                                                    Desai, Neil P. ;
                     Compositions and methods of delivery of pharmacological
US9012519B2                                                                     US13777988           2013-02-26                US13777988           Soon-Shiong, Patrick ;   2013-02-26         2015-04-21
                     agents
                                                                                                                                                    Trieu, Vuong
                     Combinations and modes of administration of therapeutic                                                                        Desai, Neil P. ;
US9101543B2                                                                     US13585696           2012-08-14                US13585696                                    2012-08-14         2015-08-11
                     agents and combination therapy                                                                                                 Soon-Shiong, Patrick
                                                                                                                                                    De, Tapas ;
                                                                                                                                                    Desai, Neil P ;
                     Compositions and methods for preparation of poorly water
US9308180B2                                                                     US13408994           2012-02-29                US13408994           Yang, Andrew ;           2012-02-29         2016-04-12
                     soluble drugs with increased stability
                                                                                                                                                    Yim, Zachary ;
                                                                                                                                                    Soon-Shiong, Patrick
                                                                                                                                                    Desai, Neil P. ;
US9393318B2          Methods of treating cancer                                 US13073824           2011-03-28                US13073824                                    2011-03-28         2016-07-19
                                                                                                                                                    Soon-Shiong, Patrick
                                                                                                                                                    Desai, Neil P. ;
US9399071B2          Methods of treatment of pancreatic cancer                  US13701002           2011-05-20                US13701002                                    2011-05-20         2016-07-26
                                                                                                                                                    Soon-Shiong, Patrick
                                                                                                                                                    Desai, Neil P. ;
US9399072B2          Methods of treatment of pancreatic cancer                  US13783122           2013-03-01                US13783122                                    2013-03-01         2016-07-26
                                                                                                                                                    Soon-Shiong, Patrick
                                                                                                                                                    Desai, Neil P. ;
                     Prion free nanoparticle compositions and methods of making
US9446003B2                                                                     US14191279           2014-02-26                US14191279           Peykov, Viktor ;         2014-02-26         2016-09-20
                     thereof
                                                                                                                                                    Soon-Shiong, Patrick
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                    Exhibit 6




                    Exhibit 6
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1038 Vol. 8, 1038 –1044, May 2002                                                                                        Clinical Cancer Research




     Phase I and Pharmacokinetic Study of ABI-007, a Cremophor-free,
     Protein-stabilized, Nanoparticle Formulation of Paclitaxel1

     Nuhad K. Ibrahim, Neil Desai, Sewa Legha,                                ment for premedication, and a high paclitaxel MTD. Our
     Patrick Soon-Shiong, Richard L. Theriault,                               results provide support for Phase II trials to determine the
                                                                              antitumor activity of this drug.
     Edgardo Rivera, Bita Esmaeli, Sigrid E. Ring,
     Agop Bedikian, Gabriel N. Hortobagyi, and
                                                                              INTRODUCTION
     Julie A. Ellerhorst2                                                           Paclitaxel is a chemotherapeutic agent with a wide spec-
     Departments of Breast Medical Oncology [N. K. I., R. L. T., E. R.,       trum of antitumor activity when used as monotherapy or in
     G. N. H.], Melanoma/Sarcoma [S. L., S. E. R., A. B., J. A. E.], and
     Ophthalmology [B. E.], The University of Texas M. D. Anderson            combination chemotherapy regimens (1). The drug is used ex-
     Cancer Center, Houston, Texas 77030, and American Bioscience,            tensively in the treatment of advanced carcinomas of the breast,
     Inc., Santa Monica, California 90403 [N. D., P. S-S.]                    ovary, head and neck, and lung. Research into its activity in
                                                                              prostate cancer and urothelial tumors is ongoing as well. On the
                                                                              basis of early reports suggesting a dose-response phenomenon
     ABSTRACT                                                                 (2, 3), and in keeping with standard medical oncology practice,
          Purpose: ABI-007 is a novel Cremophor-free, protein-                attempts are generally made to maintain paclitaxel doses at or
     stabilized, nanoparticle formulation of paclitaxel. The ab-              near the MTD.3 Several schedules of administration have been
     sence of Cremophor EL may permit ABI-007 to be admin-                    studied, each demonstrating a slightly different toxicity profile.
     istered without the premedications used routinely for the                Short infusions of 1–3 h result in peripheral neuropathy as a
     prevention of hypersensitivity reactions. Furthermore, this              dose-limiting toxicity, whereas longer, continuous infusion
     novel formulation permits a higher paclitaxel concentration              schedules produce a higher incidence of neutropenia (2, 4 – 6).
     in solution and, thus, a decreased infusion volume and time.             Other common side effects include alopecia, mucositis, arthral-
     This Phase I study examines the toxicity profile, maximum                gias, myalgias, and mild nausea.
     tolerated dose (MTD), and pharmacokinetics of ABI-007.                         The paclitaxel preparation in clinical use (Taxol; Bristol-
          Experimental Design: ABI-007 was administered in the                Myers Squibb, Princeton, NJ) is formulated in the nonionic
     outpatient setting, as a 30-min infusion without premedica-              surfactant Cremophor EL (polyoxyethylated castor oil) and eth-
     tions. Doses of ABI-007 ranged from 135 (level 0) to 375                 anol to enhance drug solubility (7). Cremophor EL may add to
     mg/m2 (level 3). Sixteen patients participated in pharmaco-              paclitaxel’s toxic effects by producing or contributing to the
     kinetic studies.                                                         well-described hypersensitivity reactions that commonly occur
          Results: Nineteen patients were treated. No acute hy-               during infusion, affecting 25–30% of treated patients (8, 9). To
     persensitivity reactions were observed during the infusion               minimize the incidence and severity of these reactions, premed-
     period. Hematological toxicity was mild and not cumulative.              ication with histamine 1 and 2 blockers, as well as glucocorti-
     Dose-limiting toxicity, which occurred in 3 of 6 patients                coids (usually dexamethasone), has become standard practice
     treated at level 3 (375 mg/m2), consisted of sensory neurop-             (10). The cumulative side effects of dexamethasone used as a
     athy (3 patients), stomatitis (2 patients), and superficial              premedication may add to treatment-related morbidity and, in
     keratopathy (2 patients). The MTD was thus determined to                 some instances, result in early discontinuation of therapy.
     be 300 mg/m2 (level 2). Pharmacokinetic analyses revealed                Cremaphor EL may also contribute to chronic paclitaxel toxic
     paclitaxel Cmax and area under the curveinf values to in-                effects, such as peripheral neuropathy (11). An additional prob-
     crease linearly over the ABI-007 dose range of 135–300                   lem arising from the Cremophor and ethanol solvent is the
     mg/m2. Cmax and area under the curveinf values for individ-              leaching of plasticizers from PVC bags and infusion sets in
     ual patients correlated well with toxicity.                              routine clinical use (12). Consequently, Taxol must be prepared
          Conclusions: ABI-007 offers several features of clinical            and administered in either glass bottles or non-PVC infusion
     interest, including rapid infusion rate, absence of require-             systems and with in-line filtration. These problematic issues
                                                                              have spurred interest in the development of taxanes with im-
                                                                              proved solubility in aqueous solutions (13).
                                                                                    ABI-007 is a novel Cremophor-free formulation of pacli-
     Received 9/25/01; revised 1/23/02; accepted 2/1/02.
                                                                              taxel (14). It is prepared by high-pressure homogenization of
     The costs of publication of this article were defrayed in part by the    paclitaxel in the presence of human serum albumin, resulting in
     payment of page charges. This article must therefore be hereby marked    a nanoparticle colloidal suspension. Like Taxol, ABI-007 dos-
     advertisement in accordance with 18 U.S.C. Section 1734 solely to
     indicate this fact.
     1
       Supported by American Bioscience, Inc., Santa Monica, CA.
     2
       To whom requests for reprints should be addressed, at Department of
                                                                              3
     Molecular and Cellular Oncology, Box 79, M. D. Anderson Cancer Center,    The abbreviations used are: MTD, maximum tolerated dose; ANC,
     1515 Holcombe Boulevard, Houston, TX 77030. Phone: (713) 792-8990;       absolute neutrophil count; AUC, area under the curve; CL, clearance;
     Fax: (713) 794-0209; E-mail: jaellerh@mail.mdanderson.org.               PVC, polyvinyl chloride.
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                        Table 1     Dose levels                         that at which ⱖ2 patients experienced grade 3 or 4 toxic effects.
  Level     Dose (mg/m2)          No. patients entered   No. cycles     Six patients were to be treated at the MTD. Patients were
                                                                        permitted to escalate to the next higher dose level if no signif-
    0             135                      4                 6
    1             200                      3                38          icant toxic effects were observed after the first 2 cycles of
    2             300                      6                35          therapy. Patients with toxicity greater than grade 2 were per-
    3             375                      6                17          mitted to reduce dosage by one dose level and remain on therapy
                                                                        at the discretion of the treating physician.
                                                                              Treatment. ABI-007 was supplied by American Bio-
                                                                        science, Inc. (Santa Monica, CA). All therapy was administered
age is determined by the paclitaxel content of the formulation,
                                                                        in the outpatient treatment center of the M. D. Anderson Cancer
making direct comparison of the two drugs possible. ABI-007
                                                                        Center, with the exception of patients participating in pharma-
can be reconstituted in normal saline at concentrations of 2–10
                                                                        cokinetic studies, which required an overnight hospital stay. The
mg/ml, compared with 0.3–1.2 mg/ml for Taxol. Thus, the
                                                                        prescribed dose of ABI-007 was prepared in 100 –150 ml of
volume and time required for administration is reduced. In the
                                                                        0.9% saline. The drug was administered i.v. without in-line
absence of Cremophor EL, the risk of hypersensitivity reactions
                                                                        filtration and without premedication. For the first 3 patients on
should decrease significantly, and patients receiving ABI-007
might thus avoid premedication. Moreover, there is no danger of         study, the total dose of ABI-007 was administered at a rate of
leaching plasticizers from infusion bags or tubing, and conven-         1.4 mg/kg/h or roughly over 3 h. If no acute hypersensitivity
tional PVC infusion systems may be safely used.                         reactions were noted, the remainder of the patients were to
     To explore the potential clinical utility of ABI-007, we           receive treatment over 30 min. One cycle of therapy was 21
have conducted a Phase I study of this drug for patients with           days.
advanced solid tumors. The objectives of this trial were to                   Pharmacokinetic Studies. Pharmacokinetic studies
determine the toxic effects, MTD, and pharmacokinetic profile           were performed in 16 patients, with at least 3 patients repre-
of this unique paclitaxel preparation.                                  senting each dose level. Whole blood samples of 5 ml each were
                                                                        taken to determine the pharmacokinetics of ABI-007 at 13 time
PATIENTS AND METHODS                                                    points: 0, 0.25, 0.5, 1, 1.5, 2, 4, 6, 8, 12, 18, 24, and 48 h.
                                                                        Paclitaxel was extracted from whole blood samples using pro-
      Patient Eligibility and Evaluation on Study. Eligible
                                                                        tein precipitation with acetonitrile, followed by solid phase
patients included those with a diagnosis of an advanced solid
tumor, having failed standard therapy. Requirements included a          extraction. The sample extracts were analyzed for paclitaxel
Zubrod performance status of 0 –3, an expected survival of ⬎6           using liquid chromatography atmospheric pressure ionization
weeks, hemoglobin ⱖ 9 g/dl, ANC ⱖ 1,500/mm3, platelet                   tandem mass spectrometry. The limit of quantitation for pacli-
count ⱖ 100,000/mm3, serum creatinine ⬍ 2 mg/dl, and serum              taxel is 5 ng/ml, and the range of reliable response is 5–1000
bilirubin ⬍ 1.5 mg/dl. Patients with prior exposure to taxanes          ng/ml.
were eligible for the study.                                                  Pharmacokinetic parameters were determined from each
      Pretreatment evaluations included a complete blood count          patient’s whole blood/plasma paclitaxel concentration profile.
with differential and platelet count, serum chemistry profile,          Analysis was performed by the noncompartmental routine using
chest radiograph, and electrocardiogram. Baseline imaging stud-         WinNonlin software (Pharsight Corp., Mountain View, CA).
ies and serum tumor marker levels were obtained at the discre-          The peak or maximum paclitaxel concentration (Cmax) and the
tion of the treating physician. Brain imaging by computerized           corresponding peak time (tmax) were observed values. The elim-
tomography or magnetic resonance imaging was required for               ination constant (␭12z) was obtained by log-linear regression
patients with symptoms suggestive of central nervous system             analysis of the terminal phase of the whole blood/plasma con-
involvement. Evaluations performed during the study included a          centration versus time profile. The elimination half-life (T1/2)
complete blood count with differential and platelet count at least      was determined by taking the ratio of natural log of 2 and ␭12z.
once weekly and a chemistry profile prior to each course.               The AUC from time 0 to time infinity (AUCinf) was obtained by
Restaging was performed after every 2nd or 3rd cycle of ther-           summation of AUClast (AUC from time 0 to last measurable
apy. Patients were removed from the study for progression of            concentration, calculated by the linear trapezoidal rule) and
disease, unacceptable toxicity, or at the patient’s request.            AUCext (extrapolated area, estimated by taking the ratio be-
      Study Design. This Phase I study was conducted at The             tween the last measurable concentration and ␭12z). The dose
University of Texas M. D. Anderson Cancer Center and was                area relationship (i.e., total ABI-007 dose divided by AUCinf)
approved by the M. D. Anderson Institutional Review Board.              was used to determine total body CL. The volume of distribution
Informed consent was obtained from all subjects. Toxicity was           (Vz) was determined by taking the ratio between CL and ␭12z.
graded according to National Cancer Institute Common Toxicity                 Descriptive statistics (mean, median, SD, coefficient of
Criteria. Dose levels of ABI-007 are shown in Table 1. Dose             variation, maximum, and minimum) were computed for perti-
escalation followed the standard “3 ⫹ 3” rule. Briefly, 3 patients      nent pharmacokinetic parameters by ABI-007 dose. Regression
were accrued at the starting dose level. If no toxic effects greater    analysis of mean AUCinf versus dose was performed to gain an
than grade 2 were observed, 3 patients were entered at the next         appreciation of pharmacokinetic linearity, if evident, for the
dose level. If, at any level, one of the first 3 patients experienced   dose range evaluated in this trial. Differences in the means of
a grade 3 or 4 toxic effect, 3 additional patients were entered at      Cmax and AUCinf between groups of patients were analyzed for
that dose level. The MTD was defined as one dose level below            significance using a two-tailed, two-sample t test. Pearson’s
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                       Table 2   Patient characteristics                  Table 3 Median absolute neutrophil and platelet nadirs by dose level
                                                           No. (%)                                ANC nadir ⫻             Platelet nadir ⫻
                                                                                                   103/mm3                    103/mm3
            Enrolled                                         20
                                                                             Dose level             (range)                    (range)
            Eligible                                         19
            Age (yr)                                                              0            2.229 (1.850–5.040)         204 (174–292)
              Median                                         50                   1            1.845 (0.586–3.729)         197 (118–270)
              Range                                        33–83                  2            0.960 (0.264–3.680)         200 (105–609)
            Performance status (Zubrod)                                           3            0.966 (0.018–1.804)         173 (25–251)
              0                                             2 (10)
              1                                            14 (74)
              2                                             3 (16)
            Gender
              Female                                       16 (84)        tional case of sensory neuropathy, this time as an isolated grade
              Male                                          3 (16)
            Malignancy                                                    3 toxic effect, was observed in a 3rd patient at level 3. The study
              Breast cancer                                13 (68)        was thus terminated. The MTD for ABI-007 administered as a
              Melanoma                                      6 (32)        30-min infusion every 21 days, as determined by this study, was
            Prior treatment                                               300 mg/m2. The dose-limiting toxic effects were sensory neu-
              Chemotherapy                                 19 (100)
              Immunotherapy                                 6 (32)
                                                                          ropathy, stomatitis, and superficial keratopathy. Specific toxic
              Radiotherapy                                 15 (79)        effects are described below.
                                                                                Hematological Toxicity. Hematological toxicity was
                                                                          dose dependent but remained modest throughout the study (Ta-
                                                                          ble 3). Of the 96 treatment cycles administered, only 7 (7.3%)
                                                                          resulted in an ANC nadir ⬍ 500/mm3, 6 of which occurred
     correlation coefficient was used to examine the correlation be-      above the MTD at dose level 3. There was one hospital admis-
     tween degree of myelosuppression and Cmax or AUCinf.                 sion for febrile neutropenia. In only one case did the platelet
                                                                          count drop below 75,000/mm3. The patient, who was found to
     RESULTS                                                              have a platelet nadir of 25,000/mm3 during her 1st cycle of
            Patients. Twenty patients were enrolled in the trial. One     therapy at level 3, also developed a constellation of grade 3
     of these chose not to be treated after signing an informed           nonhematological toxic effects. This was the only individual
     consent. Therefore, 19 patients received drug and were evalu-        who required a platelet transfusion during the study. No patients
     able for toxic effects. Patient characteristics are summarized in    received growth factors for granulocyte support.
     Table 2.                                                                   Nonhematological Toxicity. Table 4 summarizes the
            Treatment and MTD Determination. All treatment                nonhematological toxic effects observed during the first 2 cycles
     was administered without dexamethasone or histamine 1 or 2           of therapy at each dose level. The majority of these were grades
     blockers. The first 3 patients received infusions of ABI-007 over    1 and 2; no patient manifested grade 4 toxicity. Nausea, vom-
     2–3 h. No hypersensitivity reactions were observed. Therefore,       iting, and muscle and joint aches were common but mild. Skin
     all subsequent infusions were administered over 30 min. Even at      toxicity was also mild, consisting of dry skin or localized
     the faster infusion rate, there were no instances of acute hyper-    vesicular or pustular rash. Alopecia was universal. Peripheral
     sensitivity to the ABI-007 preparation.                              neuropathy, absent at the lower dose levels, was common with
            Three patients were entered initially at level 0, receiving   higher doses, appearing in 11 of 12 patients treated at levels 2
     135 mg/m2 over 3 h. One of these experienced progression of          and 3. The neuropathy occurred in a typical stocking/glove
     disease over the next several weeks, with rapid clinical deteri-     distribution and was manifested by numbness or pain. Six pa-
     oration, making it difficult to ascertain toxic effects of ABI-007   tients with peripheral neuropathy developed peri-oral numbness
     in this individual. To verify toxicity data at this dose level and   as well. As described above, the most severe nonhematological
     ascertain the safety of administering the drug over a short          adverse effects occurred in 2 patients at dose level 3, consisting
     infusion period, a 4th patient was entered at level 0 and was the    of a complex of peripheral neuropathy, stomatitis, and superfi-
     first patient to receive drugs over 30 min. There were no            cial keratopathy, all grade 3.
     instances of grade 3 or 4 toxicity observed at dose levels 0 or 1          A variety of ocular side effects was observed, the severity
     (200 mg/m2). At dose level 2 (300 mg/m2), 1 of the first 3           of which appeared to be dose dependent. One patient, entered at
     patients developed grade 3 sensory neuropathy. Three more            level 0, complained of dry eyes but noted no visual disturbance.
     patients were accrued at this level, with no additional observa-     No ocular complaints were registered by patients treated at level
     tions of dose-limiting toxicity. At dose level 3 (375 mg/m2),        1. Four patients developed ocular toxicity at level 2. One noted
     during the 1st cycle of treatment, one of the first 3 patients       intermittent “smoky” vision, and another experienced blurred
     experienced grade 3 sensory neuropathy, grade 3 stomatitis, and      vision, both occurring with cycle 1 and both presenting as grade
     a visual disturbance diagnosed as superficial keratopathy, also      1. Two other patients at dose level 2 noted “flashing lights” and
     grade 3. An additional 3 patients were accrued at level 3. One       photosensitivity during their third course of treatment. One went
     patient from this second cohort experienced a similar spectrum       on to develop grade 2 superficial keratopathy during course 4.
     of grade 3 toxic effects, including sensory neuropathy, stoma-       The other experienced a reversible decrease in visual acuity
     titis, and superficial keratopathy; this patient developed grade 3   without specific abnormalities on ophthalmologic exam. At
     vomiting and diarrhea and thrombocytopenia as well. An addi-         level 3, 2 patients complained of mild dry eyes throughout
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                                                  Table 4   Nonhematologic toxicity by dose levela
                                        Level 0 (n ⫽ 4)              Level 1 (n ⫽ 3)             Level 2 (n ⫽ 6)           Level 3 (n ⫽ 6)
                                      Grade         Grade          Grade         Grade         Grade          Grade      Grade        Grade
             Toxicity                 1 or 2          3            1 or 2          3           1 or 2           3        1 or 2         3
   Sensory neuropathy                   0              0             0             0              4             1          3            3
   Ocular                               1              0             0             0              2             0          2            2
   Stomatitis                           0              0             1             0              4             0          3            2
   Nausea                               1              0             1             0              3             0          4            1
   Vomiting                             1              0             1             0              0             0          2            1
   Diarrhea                             1              0             2             0              3             0          1            1
   Arthralgia/myalgia                   3              0             3             0              4             0          4            1
   Skin                                 0              0             0             0              5             0          2            0
   Fever (non-neutropenic)              0              0             0             0              2             0          3            0
    a
        Expressed as the number of patients experiencing the toxic effect during the first two cycles of treatment.




Fig. 1 Pharmacokinetic profile of ABI-007
showing mean whole blood paclitaxel concentra-
tions at increasing doses of ABI-007 versus time.
All infusions were given over 30 min except for
the first 3 patients who received 135 mg/m2 over
180 min.




therapy but did not experience visual disturbances. Two other                 profiles. Three of these received ABI-007 as a 180-min infusion;
patients at dose level 3 developed grade 3 superficial keratopa-              the remaining 13 were treated over 30 min. A semilog plot of the
thy during their 1st cycle of treatment, as described above. All              mean values of the whole blood paclitaxel concentration for
cases of keratopathy received full ophthalmologic evaluation,                 each dose level versus time is shown in Fig. 1. The maximum
and all resolved with the use of topical lubricating drops and                paclitaxel concentrations were observed at the termination of
ointments. No patient developed a permanent loss of vision or                 ABI-007 infusion; the decline from maximum was biphasic.
experienced any other permanent ocular sequellae.                                   A summary of the pharmacokinetic parameter values de-
      Occurrences of new types of toxic effects after the first 2             rived by noncompartmental methods is shown in Table 5. The
cycles of therapy were rare. Furthermore, it was uncommon for                 pharmacokinetics of ABI-007 administered over 30 min ap-
toxic effects to increase in grade after the first 2 treatment                peared to be linear across the three lower dose levels, which
cycles. Therefore, cumulative toxicity did not appear to be a                 included the MTD (Fig. 2). Calculations from the data in Table
significant problem.                                                          5 reveal a 2.2-fold increase in Cmax and a 2.7-fold increase in
      Response. Partial responses were observed in two breast                 AUCinf over the 2.2-fold increase in dose from 135 to 300
cancer patients, both of whom had prior exposure to Taxol. The                mg/m2. The decline in CL estimates over this range is 0.8-fold
first patient, entered at dose level 2, experienced a 68% decrease            (16.1%). If the highest dose level of 375 mg/m2 is included,
in the size of pulmonary metastases. This response lasted a total             nonlinearity becomes evident (Fig. 2). Individual Cmax and
of 15 months, including 9 months after discontinuation of ther-               AUCinf values versus dose are shown in Fig. 3, a and b,
apy for toxicity. The 2nd patient, who was also treated at dose               respectively.
level 2, had significant improvement in soft tissue disease in-                     The group of 13 patients who received 30-min infusions
volving the chest wall. Because of toxic effects, she was taken               and for whom pharmacokinetic profiles were obtained included
off treatment on the date of her response. Disease progression                3 who experienced grade 3 nonhematological toxic effects (neu-
was noted 6 weeks later.                                                      ropathy with or without stomatitis and keratopathy). The Cmax
      Pharmacokinetic Studies. Sixteen of the 19 patients en-                 and AUCinf for these 3 patients relative to those of the remaining
tered into the study contributed analyzable pharmacokinetic                   10 patients are plotted in Fig. 4. The differences in mean Cmax
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                  Table 5 Summary of noncompartmental pharmacokinetic parameters, mean (% coefficient of variation) values by dosea
                            Infusion duration                                  AUCinf
        Dose mg/m2                 min               n     Cmax ng/ml          ng/h/ml         Half-life h       CL liter/h/m2         Vz liter/m2
            135                   180                3       1392 (30)         5654 (42)        12.9 (60)           27.4 (45)           418 (32)
            135                    30                1       6100              6427             14.6                21.1                442
            200                    30                3       7757 (35)         9613 (20)        13.4 (67)           21.4 (21)           384 (64)
            300                    30                5      13520 (7)         17610 (21)        14.6 (14)           17.7 (22)           370 (23)
            375                    30                4      19350 (15)        35805 (40)        13.2 (12)           11.9 (42)           236 (54)
          a
            n, number of patients; Cmax, maximum or peak concentration; AUCinf, area under the whole blood/plasma concentration-time curve from time
     0 to time infinity; CL, total body clearance; Vz, volume of distribution.




                                                                                                    Fig. 2 Correlation between the mean AUCinf and
                                                                                                    dose level. The data have been fit using a linear
                                                                                                    regression and an exponential regression function.




     and mean AUCinf between the two groups were significant (P ⫽              solid tumors, as pharmacokinetic studies demonstrate the com-
     0.034 and 0.007, respectively). The effect of ABI-007 exposure            pound’s distribution to be limited to the central plasma com-
     on myelosuppression was also examined in this group of pa-                partment (17). This issue should be clarified with the completion
     tients. The percentage of decrease in ANC from baseline to                of ongoing Phase II trials of ABI-007. If the response rate of
     nadir was found to correlate positively with both Cmax (r ⫽               ABI-007 is not less than that of Taxol and if responses are seen
     0.610, P ⫽ 0.027) and AUCinf (r ⫽ 0.614, P ⫽ 0.025).                      in patients who are previous taxane failures, the therapeutic
                                                                               contribution of Cremophor to paclitaxel can be considered neg-
     DISCUSSION                                                                ligible.
          This clinical trial was conducted to examine the pharma-                   In terms of treatment-related toxicity, a lower incidence of
     cokinetic properties and spectrum of toxic effects associated             myelosuppression was observed than that which we anticipated
     with ABI-007. Because ABI-007 is not formulated in a Cremo-               based on the dose of paclitaxel administered. In this regard,
     phor-containing solvent, we anticipated that hypersensitivity             hematological toxicity was mild and played virtually no role in
     reactions would be diminished or absent. Our results show that            dose and treatment decisions made in this trial. Although direct
     ABI-007 can indeed be administered safely as a short infusion             comparisons to Taxol administered at this dose range and sched-
     without dexamethasone or antihistamine premedication. Thus,               ule are not possible, the myelosuppression induced by ABI-007
     when considering the process of drug administration, ABI-007              appeared to be similar to or less severe than that reported for 1-h
     appears to offer advantages in terms of safety (avoidance of              Taxol infusions at lower doses (18). Otherwise, the spectrum of
     hypersensitivity reactions), morbidity (avoidance of dexametha-           toxic effects produced by ABI-007 resembled that of high-dose
     sone premedication), and patient convenience and comfort (less            short-infusion Taxol reported in early Phase I trials, with sen-
     time spent in the treatment center). These advantages could               sory neuropathy and mucositis becoming dose limiting (19, 20).
     ultimately translate into an overall decrease in cost of therapy.         A third dose-limiting toxic effect, superficial keratopathy, was
          It must be pointed out that, although the absence of Cre-            also observed. We were unable to find any prior report of
     mophor is clearly desirable with respect to toxicity, this same           superficial keratopathy as a consequence of paclitaxel adminis-
     compound has been proposed to enhance the efficacy of cyto-               tration. In our Phase I trial, this side effect appeared to be related
     toxic drugs through reversal of the multidrug resistance pheno-           to dose and presented at the level of grade 3 only above the
     type (15). Plasma concentrations of Cremophor attainable dur-             MTD, at a dose of 375 mg/m2. Superficial keratopathy second-
     ing Taxol infusions are sufficient to inhibit P-glycoprotein              ary to ABI-007 was similar to that most commonly recognized
     effects in vitro (16). However, there have been questions raised          in association with 1-␤-D-arabinofuranosylcytosine, although
     as to whether these Cremophor concentrations are relevant to              any type of ocular surface irritation, including dry eye syn-
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                                                                      Fig. 4 Individual values of Cmax (a) and AUCinf (b) for patients who
                                                                      experienced grade 3 nonhematological toxic effects (“yes”) and those
Fig. 3 Individual values of Cmax (a) and AUCinf (b) versus dose for   who did not (“no”). In the “yes” category, the solid diamond symbols
patients receiving 30-min infusions of ABI-007.                       (⽧) represent 2 patients with multiple grade 3 toxicities, whereas the
                                                                      open circle (E) represents the patient with only grade 3 neuropathy.



drome, can result in similar corneal findings (21). Other ocular
complications of taxane therapy have been reported. The most          serum albumin at a concentration of 3– 4%, similar to the
common adverse ocular effects of Taxol are photopsia and              concentration of albumin in the blood. Because paclitaxel has a
blurred vision, usually reported by patients during the infusion      very limited solubility in an aqueous albumin solution (⬍30
period (22, 23). Cases of optic nerve disturbances have also          ␮g/ml), it may partition more efficiently into the tissues in the
been documented (24). Cases of grade 2 conjunctivitis necessi-        case of ABI-007. Furthermore, lipid, macromolecular, and
tating dose reduction and treatment delay have been reported          nanoparticle drug carriers have been known to preferentially
during weekly therapy with docetaxel (25). Similar to our find-       accumulate in tumor beds and tissues in what is known as
ings, reported ocular effects from paclitaxel have been noted         enhanced permeation and retention effect (29). These factors
only at higher doses and are usually transient. Although all cases    may facilitate the partition of ABI-007 into tissues.
of keratopathy in this study resolved completely and without               The MTD of ABI-007 was found in this study to be 300
permanent sequellae, in the ensuing Phase II trial, patients will     mg/m2 when given as a short infusion on a 21-day cycle.
be aggressively monitored for the development of ophthalmo-           Although the usual dose range for Taxol is 135–200 mg/m2,
logic abnormalities.                                                  doses as high as 250 mg/m2 are occasionally administered.
      Pharmacokinetic analysis of ABI-007 revealed interesting        Therefore, the MTD established by this trial represents a mod-
similarities and differences relative to Taxol, based on published    erate increase over that of Taxol. The issue of whether one can
data. Disappearance from the blood is biphasic for both drugs         achieve uniform and repeated dosing of ABI-007 at the MTD
(19). ABI-007 displays linear pharmacokinetics over the clini-        will need to be addressed in Phase II trials.
cally relevant dose range of 135–300 mg/m2; over a similar dose            In conclusion, ABI-007 appears to represent an improve-
range, Taxol AUCinf is nonlinear (26 –28). In comparing the           ment in paclitaxel formulation in that it can be administered
AUCinf values of ABI-007 infused over 30 min to those reported        rapidly and safely without the risk of hypersensitivity reactions,
for Taxol infused over 1 or 3 h, ABI-007 in general showed            eliminating the need for steroid and antihistamine premedica-
lower AUCinf values over a similar range of doses (26 –28).           tion. Furthermore, the increased MTD and favorable toxicity
Although several explanations are possible for the differences in     profile of ABI-007 may ultimately prove advantageous in terms
AUCinf, it is reasonable to hypothesize that ABI-007 may be           of rate and quality of response. Although several interesting
distributed more rapidly out of the vascular compartment, a           pharmacokinetic properties were noted for ABI-007, the small
suggestion supported by the difference in formulation between         number of patients in this study renders comparisons with Taxol
the two drugs. A substantial amount of solvent (Cremophor/            preliminary, and additional studies will need to be conducted to
ethanol) is infused with Taxol, and the partition of paclitaxel       fully appreciate differences in pharmacokinetic behavior. The
from the vascular compartment to the tissues may thus be              partial responses seen in 2 patients with prior exposure to Taxol
relatively slow. In contrast, ABI-007 is formulated with human        are encouraging and support a continued effort to explore the
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     spectrum of activity for this drug. We are currently conducting                Molpus, K., Felton, S., Gupta, E., Ferrante, K. J., Tortora, A., Sonnich-
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2592




Intraarterial Chemotherapy with Polyoxyethylated
Castor Oil Free Paclitaxel, Incorporated in Albumin
Nanoparticles (ABI-007)
Phase I Study of Patients with Squamous Cell Carcinoma of the Head and Neck and
Anal Canal: Preliminary Evidence of Clinical Activity



Bruno Damascelli, M.D.1                                   BACKGROUND. This study was designed to determine the feasibility, maximum
Giulio Cantù, M.D.2                                      tolerated dose, and toxicities of intraarterial administration of paclitaxel-albumin
Franco Mattavelli, M.D.2                                  nanoparticles in patients with advanced head and neck and recurrent anal canal
Paolo Tamplenizza, M.D.3                                  squamous cell carcinoma. Antitumor activity also was assessed.
Paolo Bidoli, M.D.4                                       METHODS. Forty-three patients (31 with advanced head and neck and 12 with
Ermanno Leo, M.D.5                                        recurrent anal canal squamous cell carcinoma) were treated intraarterially with
                                                          ABI-007 every 4 weeks for 3 cycles. In total, 120 treatment cycles were completed,
Franco Dosio, M.D.6
                                                          86 in patients with head and neck carcinoma (median, 3 cycles; range, 1– 4) and 34
Anna M. Cerrotta, M.D.7
                                                          in patients with anal canal carcinoma (median, 3 cycles; range, 1– 4). ABI-007 was
Giuseppe Di Tolla, M.D.1
                                                          compared preliminarily with Taxol威 for in vitro cytostatic activity. Increasing dose
Laura F. Frigerio, M.D.1
                                                          levels from 120 to 300 mg/m2 were studied in 18 patients. Pharmacokinetic profiles
Francesco Garbagnati, M.D.1
                                                          after intraarterial administration were obtained in a restricted number of patients.
Rodolfo Lanocita, M.D.1
                                                          RESULTS. The dose-limiting toxicity of ABI-007 was myelosuppression consisting of
Alfonso Marchianò, M.D.1                                 Grade 4 neutropenia in 3 patients. Nonhematologic toxicities included total alo-
Gianluigi Patelli, M.D.1                                  pecia (30 patients), gastrointestinal toxicity (3 patients, Grade 2), skin toxicity (5
Carlo Spreafico, M.D.1                                    patients, Grade 2), neurologic toxicity (4 patients, Grade 2) ocular toxicity (1
Vladimira Tichà, M.D.1                                   patient, Grade 2), flu-like syndrome (7 patients, Grade 2; 1 patient, Grade 3). In
Valentina Vespro, M.D.1                                   total, 120 transfemoral, percutaneous catheterization procedure–related compli-
Franco Zunino, M.D.8                                      cations occurred only during catheterization of the neck vessels in 3 patients (2
                                                          TIA, 1 hemiparesis) and resolved spontaneously.
1
 Department of Radiology, Istituto Nazionale Tu-          CONCLUSIONS. Intraarterial administration of ABI-007 by percutaneous catheter-
mori, Milano, Italy.                                      ization does not require premedication, is easy and reproducible, and has accept-
2
 Department of Head and Neck Surgery, Istituto            able toxicity. The maximum tolerated dose in a single administration was 270
Nazionale Tumori, Milano, Italy.                          mg/m2. Most dose levels showed considerable antitumor activity (42 assessable
3
  Department of Head and Neck Surgery, Univer-            patients with 80.9% complete response and partial response). The recommended
sità degli studi di Milano, Milano, Italy.               Phase II dose is 230 mg/m2 every 3 weeks. Cancer 2001;92:2592– 602.
4
                                                          © 2001 American Cancer Society.
 Department of Medical Oncology, Istituto Nazio-
nale Tumori, Milano, Italy.
                                                          KEYWORDS: taxanes, paclitaxel, intraarterial chemotherapy, squamous cell carcinoma.
5
 Department of Gastrointestinal Surgery, Istituto
Nazionale Tumori, Milano, Italy.
                                                    Supported in part by ACS Dobfar, Milano, Italy, as    Address for reprints: Bruno Damascelli, M.D., De-
6
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and Pharmacological Sciences, University of Pi-     Lega Italiana per la Lotta contro i Tumori, Milano.   Studio e la Cura dei Tumori di Milano, Via Ven-
emonte East, Novara, Italy.                                                                               ezian, 1, 20133 Milano, Italy; Fax: 390-2239-
7
 Department of Radiotherapy, Istituto Nazionale     The authors are indebted to Marco Falciani, Patrick   0398;
Tumori, Milano, Italy.                              Soon Shiong, and Neil Desai, without whose sup-       E-mail: damascelli@istitutotumori.mi.it
                                                    port this study would not have been possible, and
8
 Department of Experimental Oncology, Istituto      to Flora Stivan, Mary Trotter, and Sauro Ceccarini    Received February 5, 2001; accepted July 16,
Nazionale Tumori, Milano, Italy.                    for assistance in preparation of the article.         2001. Precis


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                                             Intraarterial Polyoxyethylated Castor Oil Free Paclitaxel/Damascelli et al.       2593



P    aclitaxel was the first taxane to be introduced into
     clinical practice, but because of its poor solubility
in water it must be formulated with polyoxyethylated
castor oil and ethanol (Taxol威). Polyoxyethylated cas-
tor oil can cause allergic reactions; therefore, patients
must receive premedication with dexamethazone, di-
phenhydramine, and cimetidine before paclitaxel ad-
ministration. In addition, special precautions for the
intravenous administration set are necessary, and it is
advisable for infusion to be given over 3–24 hours.1,2
Despite these measures, severe hypersensitivity reac-
tions are reported in 1.5–3% of patients, and more
modest reactions are observed in almost half of pa-
tients.3 A recently published article highlights this
problem and suggests changing patients with allergic            FIGURE 1.     Electron microscope enlargement (original magnification
reactions to another taxane, docetaxel.4                        ⫻34,000) of paclitaxel-albumin nanoparticles (ABI-007).
     Intraarterial administration of taxanes has been
considered only sporadically up to now.5,6 The pres-            of achieving definitive local treatment by surgery or
ence of alcohol in the commercial formulation and the           radiotherapy while maintaining an acceptable quality
problem of hypersensitivity reactions represent an ob-          of life, including organ preservation.
stacle to administration by this route, unless the drug              Cystostatic drugs have been given by intraarterial
is diluted considerably. A new polyoxyethylated castor          administration in the past, particularly since the in-
oil free formulation of paclitaxel provided the oppor-          troduction of cisplatin. The responses reported (clin-
tunity to assess intraarterial chemotherapy with this           ical-radiologic, complete, and partial) range from 47%
cytostatic agent in squamous cell carcinomas of the             to 94% in patients with miscellaneous advanced dis-
head and neck and of the anal canal.                            ease at presentation or with recurrence. The rate of
     Few studies have been conducted to date on the             catheter-related complications was greater than
activity of systemically administered taxanes in ad-            30%.13–16
vanced head and neck carcinoma. In these studies,                    The expansion of interventional neuroradiology
intravenous paclitaxel as a single agent has shown              techniques, which now have high reproducibility and
superior activity to that of the standard combined              an acceptable complication rate, has led to the avail-
chemotherapy (cisplatin, 5-fluorouracil) in recur-              ability of new materials for superselective catheteriza-
rences of these cancers, but the improvement was not            tion, prompting renewed interest in intraarterial che-
very great. Overall, when more recent taxanes such as           motherapy of the cervicofacial district.17–19 However,
docetaxel are included, objective response rates (com-          in this reappraisal of intraarterial chemotherapy, the
plete and partial clinical-radiologic) range from 30%           drugs used thus far have been the same as in the past,
to 42% in recurrences.7–9                                       and in no case have taxanes been used.
     Less than 30% of patients with locally advanced                 ABI-007 is a new formulation of paclitaxel. Its
disease (American Joint Committee on Cancer [AJCC]              novelty lies in the use of human albumin as a stabilizer
TNM Stage III/IV) can be cured with surgery and/or              in place of the usual excipients, polyoxyethylated cas-
radiotherapy. The chemotherapy regimen that achieves            tor oil and alcohol. The particles of the paclitaxel-
a complete clinical response of 30 –50% and greater is          human albumin complex have a dimension of 150 –
the combination of cisplatin and fluorouracil given at          200 nm (Fig. 1), and the product takes the form of a
initial presentation of the disease. Combination with           colloid when suspended in saline solution. Animal
radiotherapy improves the results but at the cost of            studies have shown that the pharmacokinetic profile
greater toxicity.10 –12 Despite this result, neoadjuvant        of ABI-007 differs from that of the commercial formu-
chemotherapy has not brought an improvement in sur-             lation (Taxol) in that it shows lower plasma levels and
vival, which depends more on locoregional recurrence            higher tissue levels with wider, more rapid distribu-
than on distant metastases. A high T classification makes       tion and slower metabolism. ABI-007 is 59-fold less
local recurrence more likely and is less amenable to            toxic than Taxol and 29-fold less toxic than the excipi-
clinical response and even less to complete pathologic          ents of Taxol.20 Preliminary results of clinical intrave-
response. Efforts to improve the results of neoadju-            nous and intraarterial use were presented recent-
vant chemotherapy in advanced carcinoma of the oral             ly.21,22
cavity and hypopharynx are justified by the possibility              The decision to study intraarterial chemotherapy
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with paclitaxel in albumin nanoparticles in patients
with squamous cell carcinoma of the head and neck
and of the anal canal was based on consideration of
the mechanism of action of this drug and of the par-
ticular problems posed by these two carcinomas. The
antitumor efficacy of paclitaxel is related to its ability
to stabilize microtubules. Alterations of microtubule
dynamics may be of relevance not only in the mitotic
spindle, but also in cytoskeleton functions. Because
cytoskeleton is involved in signaling pathways medi-
ated by growth factor receptors, the pharmacologic
effects of taxanes could be at least in part caused by
their interference with signal transduction. Because
squamous cell carcinomas of different tissue origin
(lung, head/neck, cervix) are characterized by overex-
pression of epidermal growth factor (EGF) receptors,
the efficacy of paclitaxel in the treatment of these
tumor types could reflect an interference of this tax-
ane in specific processes mediated by growth factor
receptors. This hypothesis should be addressed by
specific approaches of modulation of receptor func-
tion. A better documentation of this additional molec-
ular effect could allow a more rational design of clin-
ical studies with taxanes.23
     Squamous cell carcinoma of the anal canal has a         FIGURE 2. Comparison of cytotoxic activity of paclitaxel (TX) and ABI-007 in
high curability rate at presentation when treated by a       ovarian cell carcinoma IGROV-1, in a subline selected for resistance to cisplatin
combination of chemotherapy, radiotherapy, and sur-          IGROV-1/Pt 1 and in cervical squamous cell carcinoma cells. Cells were
gery, but no further systemic therapeutic regimen is         exposed to the drug for 24, 48, or 72 hours as indicated. The antiproliferative
available for effective management of recurrence.24,25       effect was determined by the growth inhibition assay (cell counting 72 hours
The rationale of intraarterial administration is rein-       after the start of exposure). IC50 values refer to drug concentrations required for
forced in this pathology by the critical nature of pelvic    50% inhibition of cell growth.
vascularization due to the previous treatments, which
might make it difficult to achieve an effective local
concentration of systemically administered cytostatic        was evaluated using an antiproliferative assay (de-
agents.                                                      termination of the number of surviving cells 72
     The principal goals of the current study were 1) to     hours after drug exposure) and variable exposure
determine the feasibility of intraarterial administra-       times (24, 48, and 72 hours). The cell systems were
tion of ABI-007, 2) to determine the maximum toler-          chosen because the cytotoxic effect of paclitaxel was
ated dose (MTD), 3) to determine the dose-limiting           predictive of antitumor efficacy after in vivo treat-
toxicity, 4) to establish the recommended dose for a         ment of tumor xenografts in athymic mice.
Phase II study, and 5) to seek preliminary evidence of            Because the drug formulation could interfere
antitumor activity.                                          with cellular uptake of the drug, a comparative cel-
                                                             lular pharmacology study was performed to exam-
MATERIALS AND METHODS                                        ine the cytotoxic potential of the drug in various
Comparative In Vitro Cytotoxic Evaluation of ABI-007         formulations using a panel of human tumor cell
and Taxol                                                    lines. The results are shown in Figure 2 as dose–
A comparative study of the cytotoxic effects of Taxol        response curves. It is evident that the cytotoxic ac-
and ABI-007 was performed in two human ovarian               tivity of paclitaxel is retained completely in its for-
carcinoma cell lines, including a cell line sensitive to     mulation with albumin. Although the observed
cisplatin (IGROV-1) and a subline selected for resis-        difference in cellular response should be regarded
tance to cisplatin (IGROV-1/Pt1), exhibiting a col-          as marginal, an increased cytotoxicity of ABI-007
lateral sensitivity to taxane and in a squamous cell         was consistently found in all experiments. A similar
carcinoma of the cervix (A431) exhibiting overex-            result was found in the A431cell line, which exhib-
pression of the EGF receptor. The cytotoxic activity         ited an increased sensitivity to taxanes.
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                                                               Intraarterial Polyoxyethylated Castor Oil Free Paclitaxel/Damascelli et al.   2595


                                                                                     Group performance status of less than 2; previous
                                                                                     chemotherapy, with exclusion of taxanes, completed
                                                                                     at least 4 weeks before study enrollment; life expect-
                                                                                     ancy longer than 3 months; and adequate bone mar-
                                                                                     row (platelet count ⬎ 75,000 ⫻ 109 cells/L, absolute
                                                                                     neutrophil count ⬎ 1.5 ⫻ 109 cells/L), hepatic function
                                                                                     (total bilirubin within normal limits, transaminases
                                                                                     ⬍ 2 times normal), and renal function (creatinine
                                                                                     ⬍ 1.5 times the upper limit of normal). Patients with
                                                                                     formal contraindications or in whom transfemoral
                                                                                     catheterization/angiography was not possible and
                                                                                     those with severe cardiopathy were excluded.
                                                                                          Before enrollment in the trial, patients were re-
                                                                                     quired to sign the informed consent document to be
FIGURE 3. Carcinoma of left margin of tongue. At presentation (top left), after      enrolled in the trial, which was approved by the Eth-
one cycle of ABI-007 into the lingual artery (top right), after two cycles (bottom   ical and Scientific Committee of the institution.
left), after three cycles (bottom right). This patient received a fourth cycle of
intraarterial chemotherapy, and no tumor was found at surgery. The patient           Dosage and Administration of ABI-007
also underwent total laterocervical lymph node resection with negative histol-       ABI-007 was supplied by American BioScience, Inc.
ogy. The patient was disease free at last follow-up (10 months).                     (Los Angeles, CA) in vials containing a lyophil equal to
                                                                                     30 mg of paclitaxel/albumin. The solution obtained by
                                                                                     diluting each vial with 10 mL of 0.9% sodium chloride
                                                                                     solution was administered over 30 minutes by selec-
                                                                                     tive percutaneous catheterization of the neck vessels
                                                                                     in patients with head and neck carcinoma, with access
                                                                                     from the femoral artery under local anesthesia, with-
                                                                                     out premedication. A guiding catheter (Envoy H1 5F;
                                                                                     Cordis/Johnson & Johnson, Miami, FL) first was posi-
                                                                                     tioned in the common carotid artery for digital an-
                                                                                     giography. Bilateral catheterization was performed for
                                                                                     tumors that exceeded the median line. Intraarterial
                                                                                     chemotherapy was performed by selectively or super-
                                                                                     selectively catheterizing the external carotid artery or
                                                                                     its branches with coaxial microcatheters in a guiding
                                                                                     catheter (Transit Infusion Catheter; Cordis/Johnson &
                                                                                     Johnson).
                                                                                          In patients with recurrence of anal canal carci-
                                                                                     noma, unilateral or bilateral transfemoral percutane-
FIGURE 4.      Carcinoma of the tongue. Computed tomography with contrast            ous catheterization of the internal iliac arteries was
medium (top left); the arrows indicate the tumor margins. Result after three         performed (Tempo 4 C3, 4F; Cordis/Johnson & John-
cycles of intraarterial chemotherapy (top right). Angiogram of right common          son) after pelvic aortography, with placement of a
carotid artery (bottom left). Catheterization and angiography of lingual artery      coaxial microcatheter (Rapid Transit; Cordis/Johnson
(bottom right).                                                                      & Johnson) distal to the gluteal artery. To prevent
                                                                                     clotting within the catheter, we used a continuous
                                                                                     washing set of our own design produced by SIDAM
PATIENTS                                                                             (Mirandola, Italy). Three treatment cycles were
Patient Selection                                                                    planned for both groups of patients, with a 4-week
Patients considered eligible for this study were 1)                                  interval between cycles (in 2 patients 4 cycles were
those with histologic diagnosis of locally advanced                                  performed). The hospital stay was 3 days for each
squamous cell carcinoma of the head and neck with or                                 cycle.
without previous treatment; and 2) patients with re-                                      The MTD was defined in this study as the dose
current squamous cell carcinoma of the anal canal.                                   level below that inducing dose-limiting toxicity in
Inclusion criteria were age older than 18 years and                                  greater than a third of cycles at the same dose level (at
younger than 75 years; Eastern Cooperative Oncology                                  least three cycles of a group of six).
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     The dose increase scheme was empiric and arbi-         Pharmacokinetic Analyses
trarily designed by us.                                     To study the pharmacokinetics of ABI-007, extensive
     The starting dose of 120 mg/m2 was increased by        blood samples were drawn in 11 patients, from the
30 mg/m2 at each subsequent level. Each level con-          superior vena cava (5 patients with head and neck
sisted of a group of six cycles. In the first 4 cycles,     carcinoma), from the inferior vena cava (6 patients
Grade 4 hematologic toxicity occurred in 3 cases in the     with anal canal carcinoma), and from peripheral veins
group receiving 300 mg/m2. The MTD therefore was            (11 patients) at multiple times during each infusion (at
defined as 270 mg/m2. The total number of cycles            0, 5, 15, and 30 minutes) and up to 18 hours (at 35, 45,
“necessary” to define the dose-limiting toxicity and        60, 90, 150, 270, 510, 750, and 1080 minutes).
the MTD was 40 (29 cycles for 12 patients with head              Whole blood paclitaxel concentrations were de-
and neck carcinoma and 11 cycles for 6 patients with        termined by high-performance liquid chromatogra-
carcinoma of the anal canal).                               phy after solid phase extraction, as described by Willey
     Of the 18 patients participating in dose escalation    et al.26 with some modifications. Standard curves were
(5 of whom completed treatment after determination          obtained using paclitaxel C (Indena, Milan, Italy) as
of the MTD, receiving 250 mg/m2 for the remaining           internal standard. The drug quantitation limit was
cycles), 1) 8 patients received 3 cycles; 2) 6 patients     0.06 ␮mol/L and the linearity up to 30 ␮mol/L with a
received 2 cycles (1 discontinued treatment because of      precision range between 8.1% and 18% and an accu-
progression, 1 withdrew despite evidence of complete        racy that exceeded 85%. The recovery of paclitaxel was
clinical response, and 4 received the third cycle at the    95%. The same method was used to check the pacli-
dose 250 mg/m2), 3) 4 patients received only 1 cycle (1     taxel contents in administered ABI-007 solutions.
completed the treatment at 250 mg/m2, 2 discontin-               Pharmacokinetic modeling and parameters were
ued it because of progression, 1 patient died after         performed using the nonlinear regression program
rupture of esophageal varices complicating concomi-         Kinetica 2000 version 3.0 (Innaphase Co., Philadel-
tant cirrhosis).                                            phia, PA). The concentration versus time curves were
     To better define the importance of the intraarte-      fitted using a three-compartment open pharmacoki-
rial chemotherapy procedure and make a preliminary          netic model.
evaluation of the tolerability of the ABI-007 dose to be         The data were compared with pharmacokinetic
recommended for Phase II study, we enrolled an ad-          profiles with intravenous infusion of ABI-007 (Ibrahim
ditional 19 patients with head and neck carcinoma           NK, Ellehorst JA, Theriault RL, et al. Phase I and phar-
and 6 with recurrence of anal canal carcinoma. Treat-       macokinetic study of ABI-007, a cremophor-free, pro-
ment with 250 mg/m2 every 4 weeks for 3 cycles was          tein-stabilized, nanoparticle formulation of paclitaxel,
planned for this additional group.                          unpublished).


Dose-Limiting Toxicities                                    RESULTS
All toxicities were graded according to World Health        Thirty-one patients with head and neck carcinoma
Organization (WHO) toxicity criteria. The MTD, as           received a total of 86 cycles (median, 3). Twelve pa-
already stated, was defined as the dose level below         tients with recurrent anal canal carcinoma received 34
that which induced a limiting toxicity in at least three    cycles (median, 3).
of six cycles. Grade 4 neutropenia lasting 5 days or            Patient characteristics are summarized in Table 1.
longer, Grade 4 thrombocytopenia or anemia of any
duration, and Grade 3 or 4 nonhematologic toxicities
                                                            Toxicity
were considered as dose-limiting.
                                                            Tables 2 and 3 summarize the hematologic and non-
                                                            hematologic toxicities of all grades observed in 12
Pretreatment and Follow-Up Studies                          patients with squamous cell carcinoma of the head
Complete clinical history, physical examination, he-        and neck and in 6 patients with squamous cell carci-
matologic examination, serum electrolytes, and chem-        noma of the anal canal who participated in dose es-
istries were performed at the time of enrollment and        calation to define the MTD of intraarterial chemother-
before each cycle. Complete blood cell counts were          apy with ABI-007.
taken weekly while patients were on study. Radiologic           Neutropenia was the main dose-limiting toxicity
studies (computed tomographic scans or magnetic             for intraarterial administration of paclitaxel. Of the
resonance imaging) were performed at baseline and           three episodes recorded, two were short-lasting and
before each treatment cycle to assess tumor response,       did not require hospitalization. These episodes oc-
which was graded according to WHO criteria.                 curred in two patients with recurrent anal canal car-
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TABLE 1                                                                                        had cirrhosis with esophageal varices. The patient was
Patient Characteristics                                                                        admitted to the hospital because of rupture of the
                                                                                               varices 6 days after intraarterial chemotherapy and
                                                         Head and neck          Anal canal
Characteristic                         Total             carcinoma              carcinoma      died of esophageal bleeding.
                                                                                                    Neutropenia never was associated with infection,
No. of patients                        43                31                     12             occurred approximately 8 days after the chemother-
Gender                                                                                         apy, and resolved within a week in the 2 assessable
  Male                                 27                25                     2
                                                                                               cases. At a dose of 270 mg/m2, Grade 4 neutropenia
  Female                               16                6                      10
Age, median (range)                    58 (36–75)        63 (36–75)             56 (41–75)     occurred in 1 previously untreated patient with carci-
Previous treatment                                                                             noma of the head and neck. Grade 2 neutropenia
  Surgery ⫹ CHT ⫹ RT                                     5                      5              occurred in 15.7% of patients in the series with tumors
  CHT ⫹ RT                                               1                      5              of the head and neck treated with 250 mg/m2, and in
  Surgery ⫹ RT                                           3                      —
                                                                                               33.3% in the much smaller series of patients with
  Surgery                                                1                      2
  CHT                                                    2                      —              recurrent anal canal carcinoma.
  RT                                                     1                      —                   The most important nonhematologic toxicities
  None                                                   17                     —              from the point of view of their impact on the quality of
  Surgery ⫹ CHT                                          1                      —              life were neuropathy lasting approximately 2 weeks,
Tumor site
                                                                                               flu-like syndrome (of shorter duration), and ocular
  Tongue                                                 10                     —
  Maxillary sinus                                        2                      —              toxicity (keratitis). All these toxicities, which were in
  Floor of mouth                                         1                      —              any case of low grade, occurred in few patients treated
  Soft tissues of the neck                               5                      —              at the dose of 250 mg/m2 (Table 4).
  Laryngopharynx                                         3                      —
  Overlapping lesion of oro/
                                                                                               Procedural Complications
   hypopharynx                                           1                      —
  Larynx                                                 1                      —              Of 120 percutaneous catheterizations, 3 complications
  Piriform sinus                                         1                      —              (2.5%) were observed in 3 patients during catheteriza-
  Retromolar trigone                                     2                      —              tion of the neck vessels for infusion of ABI-007. These
  Oropharynx                                             2                      —              complications were two transient ischemic attacks
  Overlapping lesion of
                                                                                               and one hemiparesis, the latter resolving within a few
   tonsil and palate                                     3                      —
  Lower pelvis                                           —                      12             days. The patient who had the hemiparesis previously
                                                                                               had undergone surgery, including radical bilateral
CHT: chemotherapy; RT: radiation therapy.                                                      neck dissection, chemotherapy, and RT. The two ce-
                                                                                               rebral transient ischemic attacks occurred in two pa-
TABLE 2                                                                                        tients who had received previous treatment, one RT
Hematologic Toxicity                                                                           and one chemotherapy. In all three cases, the external
                                                                                               carotid artery was selectively catheterized by the
                                                Cycles with neutropenia/grade                  method described. The accidents occurred at the time
                                                                                               of removal of the catheter, most likely due to detach-
                                  Head and neck (grade)               Anal canal (grade)
Dose             Total no.                                                                     ment of debris at the carotid bifurcation, which
(mg/m2)          of cycles        1         2       3        4   1        2       3        4   showed atheromatous plaque in all three cases, par-
                                                                                               ticularly in the patient with hemiparesis.
120              6                4                                                                 No complications related to the catheterization
150              6                2
                                                                                               procedure occurred in the population treated for re-
180              6                4
210              6                2         1                                                  current anal canal carcinoma.
240              6                                                        1
270              6                1         1                    2                             Antitumor Activity
300              4                                           1                             2   Forty of 43 patients were assessable for antitumor
                                                                                               activity of intraarterial chemotherapy with ABI-007.
                                                                                               Three patients (all previously treated with combined
cinoma who previously had been treated with radia-                                             regimens) received only one cycle and were not as-
tion therapy (RT) and chemotherapy and with                                                    sessable: one died after rupture of esophageal varices
chemotherapy plus RT plus surgery, respectively. The                                           complicating cirrhosis and the other two discontinued
third case was a patient with metastatic carcinoma of                                          treatment because of disease progression. The latter
the head and neck from an unknown primary site,                                                two patients were treated with alternative chemother-
previously treated with RT and surgery and who also                                            apy regimens without success.
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TABLE 3
Nonhematologic Toxicity for Head and Neck Carcinoma and Anal Canal Carcinoma

                                    Neuropathy              Gastrointestinal                Flu syndrome
                  Total               (grade)                   (grade)                        (grade)                       Ocular (grade)           Cutaneous (grade)                        Alopecia (grade)
                  no. of
Dose (mg/m2)      cycles       1     2        3    4    1       2       3       4       1       2       3       4        1      2     3       4       1        2       3           4       1          2   3       4

Head and neck
  carcinoma
 120              6            2                        2                               2                                4                                     3                           1          3
 150              6                                                                             1                                                                                                     3
 180              5            1     1                  2                               4       1                                                     1                                               4
 210              5            3                        1       1                       2       1       1                1      1                     1                                               5
 240              2                                     1       1                       2                                       1                     1                                               2
 270              3            3                                                        2                                                                                                             2
 300              2                                     1                                                                                                                                             1

                                                  Neuropathy                    Gastrointestinal                    Flu syndrome                          Cutaneous                              Alopecia
                           Total No.
Dose (mg/m2)               of Cycles          1    2     3          4       1       2       3       4          1         2      3      4          1        2       3       4           1          2       3       4

Anal canal carcinoma
  120                      —
  150                      —
  180                      1
  210                      1                                                                                   1                                                                                  1
  240                      4                  1                             2                                  2         2                                                                        3
  270                      3                                                1                                  2                                  2                                               3
  300                      2                       1                                                           1         1                                                                        1


TABLE 4
Hematologic and Nonhematologic Toxicity in 25 Patients Treated Intraarterially with ABI-007 at a Dose of 250 mg/m2
(Total of 80 Cycles, Median 3)

                                                                                                                             Grade                                                     Grade

Characteristic              Total        Head and neck cancer           Anal canal cancer               1 (%)        2 (%)          3 (%)         4 (%)        1 (%)           2 (%)            3 (%)         4 (%)

No. of patients             25           19                             6
Gender
  Female                                 3                              5
  Male                                   16                             1
Age, median (range)                      64 (36–72)                     57 (41–64)
Hematologic toxicity                                                                                    47.3         15.7                                      50.0            33.3
Nonhematologic toxicity
  Alopecia                                                                                              6            12                                        16.6            83.3
  Gastrointestinal                                                                                      7            1                                         1               1
  Flu-like syndrome                                                                                     7            3                                         3               3
  Cutaneous                                                                                             1            2                                                         1
  Ocular                                                                                                1
  Neurologic                                                                                            4            1                                         2               1




    Of the 40 assessable patients, 29 belonged to the                                               with carcinoma of the piriform sinus), and with sur-
head and neck carcinoma group in which there were 3                                                 gery and radiotherapy (1 case of carcinoma of the
complete responses (2 pathologic and 1 clinical). The                                               retromolar trigone).
three patients had received no previous treatment and                                                   Nineteen partial responses were observed in head
were treated with radical surgery (1 patient with car-                                              and neck carcinomas (6 previously treated patients
cinoma of the tongue who had received 4 cycles), with                                               and 13 not previously treated). The sum of complete
radical neck dissection and radiotherapy (1 patient                                                 and partial responses was 75.85% (complete response,
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FIGURE 5. Carcinoma of right piriform sinus. Computed tomography (CT) of
pharynx/larynx with arrows indicating the tumor margins (top left). CT with
arrows indicating adenopathy (top right). CT after third cycle of intraarterial
chemotherapy (bottom left); arrow indicates the primary tumor site no longer
evident at histologic examination. CT of neck also shows a partial response for
adenopathy (bottom right).



                                                                                       FIGURE 7. (A and B) Mean paclitaxel concentration versus time profiles in
                                                                                       patients with head and neck (A) or anal canal (B) carcinomas during and after
                                                                                       30-minute constant infusion of ABI-007 (250 mg/m2 of paclitaxel). The dotted
                                                                                       line in each panel represents the profile of an intravenous injected dose. iv:
                                                                                       intravenous; ia: intraarterial; svc: superior vena cava; ivc: inferior vena cava.


                                                                                       of the remaining seven assessable patients had re-
                                                                                       ceived previous treatment, and of these one pro-
                                                                                       gressed, four had stable disease, and one developed a
                                                                                       massive tumor necrosis with fistulization after the sec-
                                                                                       ond cycle of intraarterial chemotherapy, and therefore
                                                                                       treatment was discontinued. The last patient, not pre-
                                                                                       viously treated, showed stable disease.
                                                                                            In the 22 responding patients, the median dura-
                                                                                       tion of follow-up for patients who had not received
                                                                                       previous treatment was 12 months (range, 3–13
FIGURE 6. Recurrent anal canal carcinoma. Computed tomography (CT) with                months); for previously treated patients, the median
contrast medium at presentation (top left). CT after first cycle of chemotherapy       was 5 months (range, 3–13 months).
via the internal iliac arteries (top right). CT after second cycle (bottom left). CT        Twelve previously treated patients belonged to the
after third cycle (bottom right). It is not possible with imaging alone to             group with recurrent anal canal carcinoma. Eleven of
determine whether tumor is still present. No tumor was found at surgery. The           these were assessable; one patient received only one
patient was disease free at last follow-up (4 months).                                 cycle and showed progression. Three complete re-
                                                                                       sponses were recorded, two pathologic and one clin-
                                                                                       ical. One patient with pathologic complete response
10.34%; partial response, 65.51%; Figs. 3–5). The six                                  received four cycles of ABI-007 (Fig. 6); the patient
previously treated patients were offered alternative                                   with clinical complete response received two cycles
chemotherapy. Of the 13 not previously treated, 9                                      after which she refused to continue treatment because
received surgery after intraarterial chemotherapy, 1                                   she wished to be reoperated on as soon as possible.
chemotherapy, 1 RT, and 2 RT and chemotherapy. Six                                     Four patients showed partial response, three previ-
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TABLE 5
ABI-007 Pharmacokinetic Parameters

Cancer                                                               Paclitaxel   No. of     Cmax          Tmax    T1/2 ␣   T1/2 ␤   T1/2 ␥   AUC (mg/L
type             Administration           Sampling                   (mg/m2)      patients   (mg/L)        (min)   (min)    (min)    (min)    min)           Vss (L)       Cl (L/min)

Head and         i.a. infusion            Superior vena              250          5          21.01 (6.5)   30      0.45     15.13    560.59   1146.0 (280)   107.55 (85)   0.338 (0.18)
  neck                                       cava
                 i.a. infusion            Peripheral vein            250          5          7.53 (1.8)    30      3.42     38.35    764.67   753.52 (150)   345.55 (45)   0.536 (0.09)
Anal             i.a. infusion            Inferior vena              250          6          18.58 (5.9)   30      1.94     13.61    529.47   872.29 (210)   114.86 (73)   0.445 (0.1)
  canal                                      cava
                 i.a. infusion            Peripheral vein            250          6          7.45 (2.6)    30      3.066    14.64    530.22   548.58 (120)   244.56 (58)   0.707 (0.21)
Solid            i.v. infusion            Peripheral vein            250          8          9.944 (3.1)   30      7.35     114.88   932.87   761.86 (140)   312.27 (40)   0.509 (0.12)
   tumors

AUC: area under the curve; i.a.: intraarterial; i.v.: intravenous.




ously treated with chemotherapy and RT and 1 with                                                          DISCUSSION
surgery. The remaining four patients (36.36%) showed                                                       Despite evidence of significant objective responses in
stable disease. All assessable patients had surgical                                                       many patients, intraarterial chemotherapy has failed
control (reoperation in six cases). The median dura-                                                       to find a place in the therapeutic armamentarium for
tion of follow-up in responding patients (7 cases) was                                                     various cancers and various sites. The responses
10 months (range, 7–13 months).                                                                            achieved are caused by the greater first-pass exposure
                                                                                                           of the tumor to the cytostatic agent, which is a func-
                                                                                                           tion of plasma clearance of the drug and of the blood
Pharmacokinetics                                                                                           flow through the tumor bed. Thus, the more selective
The concentration/time curve calculated on samples                                                         the administration into the tumor feeding arterial
from the superior vena cava and peripheral veins is                                                        branches, the greater the exposure to the cytostatic
shown in Figure 7 and compared with the profile of                                                         agent. This goal now can be attained, but the progress
the same dose administered by intravenous infusion.                                                        made to date has not led to an improvement in sur-
      From the three-compartmental model fit the                                                           vival because of the propensity of tumors to develop
elimination half-time values were lower than with in-                                                      resistance, which can depend on several factors. There
travenous administration both in patients with head                                                        are essentially two mechanisms for overcoming drug
and neck carcinoma and in those with anal canal                                                            resistance: higher doses and drug combinations. Not
carcinoma (Table 5). The mean plasma peak of central                                                       many drugs are suitable for intraarterial administra-
                                                                                                           tion, and the pharmacokinetic data available for lo-
venous samples also was observed to be approxi-
                                                                                                           coregional treatment are scarce and unreliable.
mately double the corresponding levels obtained with
                                                                                                                Evaluations of intraarterial treatment therefore
intravenous infusion. This also is reflected in a signif-
                                                                                                           are still empiric, being based on local toxicity, sys-
icant decrease in total clearance.
                                                                                                           temic toxicity, and evidence of antitumor activity, as
      The plasma curve of the peripheral samples shows
                                                                                                           shown by an objective response.
a reduced Cmax, and overall clearance was greater
                                                                                                                Theoretically at least, intraarterial administration
than with intravenous infusion. This finding seems to                                                      intrinsically has the best characteristics for exposing
indicate a certain extraction from the administration                                                      the tumor to the highest possible drug dose with the
site.                                                                                                      likelihood of lower systemic toxicity, whereas local
      When the pharmacokinetic values of head and                                                          toxicity depends on the accuracy of administration
neck carcinoma patients are compared with those of                                                         and the properties of the drug.
anal canal carcinoma patients, a higher area under the                                                          Squamous cell carcinomas are considered highly
curve value is noted in the former, and this was evi-                                                      responsive tumors. It has been shown recently that, at
dent particularly in the central samples. These data                                                       least for head and neck carcinomas, a better response
are entirely preliminary and a larger series is needed                                                     is achieved with intraarterial administration of cispla-
to define the pattern of local extraction. However, on                                                     tin at doses never reached previously with intravenous
the basis of the clearance value and the selectivity of                                                    treatment.19 Now that the technical problem of reach-
administration, locoregional treatment can be ex-                                                          ing the anatomic treatment site through percutaneous
pected to show a marked advantage.19                                                                       catheterization with high reproducibility and low mor-
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bidity has been largely overcome, a synergism with              cess, are known to impair local vascularization, mak-
radiotherapy or with other drugs can be expected to             ing it difficult to expose recurring tumors to drugs
give further impulse to the renewed research effort in          given systemically. Because the pelvic arterial district
this direction. Nor will it be long before the develop-         does not pose critical procedural problems, perfusion
ment of effective sealants for vascular wall puncture           with a locally tolerated drug can be performed with an
sites makes it possible to offer therapeutic arterial           occlusive technique (stop-flow), thus greatly increas-
catheterization on an outpatient basis.27                       ing tissue concentrations. Furthermore, the consider-
     A new polyoxyethylated castor oil and alcohol free         able clearance value (intravenous total clearance , 509
formulation of the taxane paclitaxel has shown less             mL/minute) positions ABI-007 among the drugs that
systemic toxicity in preliminary clinical trials than           are potentially advantageous in locoregional treat-
commercially available formulations and is well toler-          ment.28
ated locally even at high concentrations. We therefore              The recommended dose for the Phase II trial in
felt it should be feasible to expand the possible appli-        head and neck carcinoma is 230 mg/m2 every 3 weeks.
cations of intraarterial chemotherapy, limiting our at-         The manageability, rapid response, and minimal local
tention for the moment to squamous cell carcinomas.             and systemic toxicity of ABI-007 lead us to expect this
     Taxanes have shown promising results in head               new trial to confirm its potential for use in induction
and neck carcinomas when administered intrave-                  chemotherapy of squamous cell carcinomas before
nously. Their mechanism of action is different from             definitive treatment.
that of cisplatin, and if the feasibility of intraarterial
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                                               I N T E R N A T I


           Nanoparticle
                    Paclitaxel
                            Doubles
                                 Response
                                       Rate
           • SAN ANTONIO-Homogenizing paclitaxel                                                                     to 10 mg/mL vs 0.3 to 1.2 mg/mL for Taxol,
           with human serum album in under pressure                                                                  which requir es correspondingly greater vol-
           produces nanoparticles that become a colloid                                                              umes and longer infusion times.
           when mixed with ordinary saline, are less toxic                               Dr.O'Shaughessy                 All pat ients had met astatic disease and no
           than standard Taxol, and are much more effec-                                                             prior taxanes; 40% had liver-dominant disease;
           tive at delivering paclitaxel into the tumor,                                                             one third had lung-dominant disease; three
           researchers said at th e 26th Annual San                                                                  fourths had prior treatment with anthracy -
           Antonio Breast Cancer Symposium (abstract                                                                 clines, half of which had been for metastatic
           44). [A preliminary report of thi s study              plasticizers out of conventional polyvinylchlo-    disease.
           appeared in ONI November 2003, page 2.]                ride (PVC) tubing; as a result, Taxol must be          The primar y endpoint was confirmed over-
                Joyce O'Shaughne ssy, MD, reported a phas e       mixed in glass bottles or in non-P VC infusion     all response rate (complete respons e plus par-
           III trial in meta static breast cancer that showed     systems with in-line filtration. ABI-007 can be    tial response ) of target lesions after six cycles of
           the new formulation , known as ABI-007                 reconstituted in normal salin e and does not       treatmen t . Response was judged by RECIST
            (Abraxane), produced highe r overall respon se        require any special handling.                       (Respon se Evaluation Crit eria in Solid
           rat es, longer time to progre ssion, and signifi-          Not only does albumin not cause the se         Tumors) and had to be documented by cycle 4
           cantly less hematologic toxicity than Taxol            Cremophor-associated problems but it is            to permit confirmation by cycle 6. Responses
           without th e use of prophylactic steroids.             actively transported across cell membranes by      were verified by a blinded indep endent radiol-
            "This formulation permits a shorter infusion          a nonsaturable mechani sm .                         ogy team. Secondary endpoint s were time to
            schedule, gives a higher response rate, and                                                               progr ession and overall survival, but Dr.
            causes less neutropenia than Taxol," said Dr.                                                             O'Shaughnessy said that median survival has
            O'Shaughnessy, co-director, Breast Cancer
                                                                  Higher response                                     not yet been reached.
            Research, U.S. Oncology.
                 This trial is expected to provide pivotal data
                                                                      rate vs Taxol                                                   StudyResults
            for the FDA's review of ABI-007, which was
            given fast-track status earlier this year. It was
                                                                    in metastatic                                    The median numb er of cycles delivered in the
            sponsored by American Pharmaceutical
            Partners , Inc., a subsidi ary of American
                                                                      breast cancer                                  trial was six for ABI-007 and five for Taxol,
                                                                                                                     with m edian delivered doses of 255 mg and
            BioScience,Inc., where the drug was developed.                                                           171 mg, respectively. The mean total paclitaxel
                 ABI-007 was created as a way of transpo rt-          Patients in the phase III trial were random-   doses delivered were 1,459 m g/m ' with ABI-
            ing paclitaxel, which is highly insoluble in          ized to ABI-007 260 mg/m' given over 30 min-       007 and 909 mg/m' with Taxol. "The m ean
            aqueous solutions, into th e tumor cell. Taxol        utes IV without routine prem edication (n =        delivered dose of paclitaxel was 60% higher
            accomplishes this by using the castor oil deriv-      229) every 3 weeks or to Taxol 175 mg/m' given     with ABI-007," Dr. O'Shaughnessy said.
            ative Cremophor as a carri er, but researchers        over 3 hours IV with dexametha sone and anti-          ABI-007 produced significantly more over-
              we long suspected that Cremophor con-               histamine premedications (n = 225) every 3         all response s th an Taxol (21% vs 10%, P = .002,
             • ibutes to hypersensitivity reactions as well as    weeks. The difference in infusion times reflects   on independent radiolog y review response
            to the hematologic and neurologic toxicities          th e fact that ABI-007 can be reconstituted in     assessment). Time to tumor progression was
            associated with Taxol. Cremophor also leaches         normal saline at a paclitaxel concentration of 2   also significantly longer (21.9 weeks vs 16.1




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weeks, P = .029). The higher response rate                the higher dose of paclitaxel actually delivered.                by arresting cells in the Gl phase of the cell
with ABI-007 was noted both for first-line                   There were no grade 3-4 hypersensitivity                      cycle, thus preventing target cells from enter-
patients and for those who had prior                      reactions following ABI-007 despite the                          ing the mitosis phase in which paclitaxel is
chemotherapy for metastatic disease, as well as           absence of premedication.                                        most effective (Investigational New Dru:
for patients with poor prognostic indicators                                                                               19:125-141, 2001).
such as liver or lung metastases.                                Mechanism
                                                                         of Rapid Transport                                    "ABI-007 permits paclitaxel dosing of 260
                                                                                                                           mg/m 2 over 30 minutes without requirement
                   Toxici
                      ty                                  Dr. O'Shaughnessy said that work reported                        for steroids or other premedication, and it pro-
                                                          separately by Neil Desai, PhD, of American                       duces higher objective response rates, longer
Grade 3 neutropenia was 25% with ABI-007 vs               Bioscience, Inc., Santa Monica, California,                      time to progression, and fewer side effects than
31% with Taxol, and grade 4 neutropenia was               showed that an albumin-specific receptor                         Taxol," she said. "Weekly ABI-007 produced
9% vs 22% (P < .009). Median ANC nadir was                (gp60 or albondin) rapidly binds and trans-                      virtually no toxicity in previously taxane-
1,350 vs 900/mm ' (P < .001). However, the                ports albumin across endothelial cells of the                    refractory patients, and a weekly trial of front-
clinical importance of this difference is not             tumor microvasculature into the tumor tissue                     line ABI-007 is being planned. "
dear, since the neutropenia was not associated            space. She suggested that this mechani sm
with increased risk of febrile neutropenia                might be responsible for the more rapid trans -                  I. Craig Henderson, MD, of the University of
(which occurred in less than 1% of patients in            port of paclitaxel into the tumor with ABI-007                   California, San Francisco, who participated
each group) or of infection, and there were no            and that, in contrast, Cremophor actually                        in a pre ss conference discussing the study,
septic deaths. Thrombocytopenia occurred in               inhibits the binding of paditaxel to tumor ves-                  called for a head-to-head trial comparing
less than 1% of patients in each group .                  sel endothelial cells.                                           ABI-007 to docetax-el (Taxotere) in metasta -
    There was significantly more grade 3 senso-               In a poster presentation (abstract 524), Dr.                 tic breast cancer. Dr. Henderson also rai sed a
ry neuropathy with ABI-007 (10% vs 2%, P <                Desai and his colleagues said that in additi on                  concern about whether clinician s might
.001). There were no episodes of grade 4 neu-             to carrying paclitaxel, Cremophor also forms                     quickly shift from Taxol to ABI-007 if the
ropathy. Dr. O'Shaugh-nessy said that the                 micelles within which the drug becomes                           drug is approved by the FDA. "I would need
grade 3 neuropathies associated with ABI-007              entrapped. This may account for the observed                     to see phase II data on ABI-007 in previously
improved to grade 1-2 in a median of22 days.              lack of dose response relationship with Taxol                    untreated patients before I would say it
The researchers suspect that the increased neu-           in breast cancer. Cremophor itself has also                      should be substituted for weekly Taxol," Dr
rotoxicity seen in the ABI-007 arm was due to             been shown to interfere with paclitaxel efficacy                 O'Shaughnessy said. ONI




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FDA Approves New Drug, Abraxane, for Treatment of Advanced Breas…ews | Imaginis - The Women's Health & Wellness Resource Network     9/24/16, 12:08 PM



In January 2005, the U.S. Food and Drug Administration (FDA) app
   FDA A PPROVES N EW D RUG , A BRAXANE , FOR T REATMENT OF
   A DVANCED B REAST C ANCER ( DATELINE J ANUARY 16, 2005)

     In January 2005, the U.S. Food and Drug Administration (FDA)
     approved the use of the drug, Abraxane to help treat women with
     advanced, metastatic breast cancer —the type of cancer that has
     spread past the breast and lymph nodes to other areas of the body.
     The drug can be used in women who have been unsuccessfully
     treatment with combination chemotherapy or who have relapsed
     within 6 months of chemotherapy. Abraxane is a new form of the drug,
     Taxol (generic name, paclitaxel) that may have fewer side effects.

     In a clinical trial comparing Abraxane and Taxol, 460 eligible women
     with advanced breast were given either drug. Those who received
     Abraxane saw their tumors shrink by 21.5% compared with 11.1%
     among the women who received Taxol.

     "Abraxane provides a much-needed new treatment option for women
     with metastatic breast cancer," said lead clinical trial investigator
     William J. Gradishar, MD, Associate Professor of Medicine at the Lynn
     Sage Breast Cancer Program, Northwestern Memorial Hospital, in an
     American Pharmaceutical Partners news release. "The pivotal clinical
     trial results demonstrated that Abraxane had superior response rate
     when compared to Taxol in patients with metastatic breast cancer."

     Taxol has been approved by the FDA for several years to treat breast
     cancer. However, it must be dissolved in a toxic solvent before
     administration, which causes allergic reactions in some patients. To
     counteract these reactions, steroids and antihistamines are given to
     patients before treatment.

     According to American Pharmaceutical Partners, Inc., the marketer of
     Abraxane, its drug contains no toxic substances and does not require
     any premedication, as with Taxol. Abraxane belongs to a new class of
     drugs of "protein-bound particle" drugs. Patients who receive
     Abraxane can receive larger doses of the drug before it becomes
     intolerable.

     In the clinical trial, slightly fewer women who took Abraxane
     experienced neutropenia—a condition marked by a sharp decrease in
     white blood cells—compared to those who took Taxol (82% to 80%
     respectively). Neutropenia can increase the risk of infection. However,
     patients on both drugs are warned that neutropenia is a possible side
     effect.


http://www.imaginis.com/breast-health-news/fda-approves-new-drug-ab…e-for-treatment-of-advanced-breast-cancer-dateline-january-16-2005     Page 1 of 2
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FDA Approves New Drug, Abraxane, for Treatment of Advanced Breas…ews | Imaginis - The Women's Health & Wellness Resource Network     9/24/16, 12:08 PM



     Other side effects noted in the clinical trial for both Abraxane and
     Taxol included anemia, infections, swelling, nausea, vomiting and
     diarrhea. Patients on Abraxane experienced more cases of nerve
     damage, severe pain in the muscles or joints, and vomiting than
     patients on Taxol.

     "It's important that the entire breast cancer community constantly
     challenge the status quo and push each other to provide a better
     treatment for those with the disease," said Marisa Weiss, MD,
     oncologist, an American Pharmaceutical Partners news release. "This
     advance represents an exciting new treatment option for women with
     metastatic breast cancer."

      A DDITIONAL R ESOURCES              AND    R EFERENCES

         The January 7, 2005 American Pharmaceutical Partners news
         release, FDA Approves Abraxane, First In New Class Of Protein-
         Bound Particle Drug For Metastatic Breast Cancer, was accessed at
         http://www.appdrugs.com/
         Full prescribing information for Abraxane is available at
         http://www.abraxane.com/
         To learn more about Taxol, please visit
         http://www.imaginis.com/breasthealth/bc_drugs.asp#Taxol


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